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 14

 15                      UNITED STATES DISTRICT COURT
 16                     CENTRAL DISTRICT OF CALIFORNIA
 17 LAWANDA D. SMALL,                      Case No.:
    Individually, and on Behalf of the
 18 Class,                                 CLASS ACTION COMPLAINT FOR:
 19                     Plaintiff,         (1) DECLARATORY RELIEF OR
             vs.                               JUDGMENT (CAL. CIV. CODE, §§
 20                                            1060, ET SEQ.);
    ALLIANZ LIFE INSURANCE
 21 COMPANY OF NORTH                       (2) DECLARATORY RELIEF OR
    AMERICA, a Minnesota                       JUDGMENT (28 U.S.C. 2801, ET SEQ.);
 22 Corporation.
                                           (3) BREACH OF CONTRACT;
 23                     Defendant.
                                           (4) UNFAIR COMPETITION (CAL. BUS.
 24                                            AND PROF. CODE, §§ 17200, ET SEQ.)
 25                                           DEMAND FOR JURY TRIAL
 26
 27

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  1         Plaintiff LAWANDA D. SMALL, individually, and on behalf of the class
  2   defined below, makes the following allegations against Defendant ALLIANZ LIFE
  3   INSURANCE COMPANY OF NORTH AMERICA (“Allianz”) as follows:
  4                             I.     NATURE OF THE CASE
  5        1.      Allianz refuses to comply with mandatory provisions of the California
  6   Insurance Code as well as California common law regulating the lapse and
  7   termination of life insurance policies.
  8         2.     Since January 1, 2013, Allianz and other related entities have
  9   systematically and purposely failed to provide certain classes of policy owners,
 10   insureds, assignees and others, proper notices of pending lapse or termination.
 11   Allianz has refused to provide required grace periods. It has also failed to notify
 12   thousands of policy owners of their right to designate someone to receive critical
 13   notices and information regarding life insurance, despite being required to do so on
 14   an annual basis. All these important safeguards are required by, among other sources,
 15   California Insurance Code Sections 10113.71 and 10113.72.1 California law requires
 16   strict compliance with these safeguards and Allianz refuses to comply.
 17         3.     As a result, Allianz has failed to properly administer policies, evaluate
 18   the status of payments due under policies, and pay claims to beneficiaries for policies
 19   improperly lapsed or terminated.          Indeed, thousands of policy owners and
 20   beneficiaries have lost, and continue to lose, the benefit, value and security of their
 21   life insurance; have been, and continue to be, forced into unnecessary reinstatements;
 22   and in many instances have lost all reasonable access to any insurance at all.
 23   Ultimately, Defendant has robbed thousands of their customers and beneficiaries of
 24   the investment in such policies, including policy benefits as well as the security
 25   intended to be provided from such insurance.
 26
 27
      1
        Unless otherwise stated, all references to “Section 10113.71” and/or “10113.72”
       refer to California Insurance Code Sections 10113.71 and/or 10113.72. Sometimes
 28    these will be collectively referred to as “The Statutes.”
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  1         4.     The injury to Allianz’s customers and beneficiaries continues today,
  2   with policyholders currently paying unnecessary or inflated premiums, or
  3   unknowingly suffering under improper forced “reinstatements” which diminish the
  4   value or conditions of the policies. And there are numerous policyholders whom
  5   Allianz told have no insurance, but whose policies are, unbeknownst to them, still in
  6   force and in some situations with benefits being owed and unpaid.
  7        5.      The Statutes were enacted to protect Californians and others, primarily
  8   seniors and the ill, as well as the intended beneficiaries of such individuals. The
  9   Statutes were designed to prevent or lessen the possibility of unintended or
 10   uninformed loss of valuable and necessary life insurance for just one missed payment
 11   or resulting from a policyholders’ physical or mental infirmity. The Statutes were
 12   written to codify existing law regarding lapse and termination of life insurance, which
 13   required strict compliance with applicable law and policy provisions before
 14   termination takes effect. The Statutes were also intended to standardize the
 15   procedures used in all life insurance when a policyholder misses a premium payment
 16   and when an insurer attempts to apply provisions of the policy that allow for lapse
 17   and termination. These rules are also consistent with the strong public policy to give
 18   all policy owners and insureds mechanisms to allow for secondary notices of lapse
 19   and termination and overall to prevent unintended forfeitures.
 20        6.      The Statutes were also designed specifically to deal with the unique
 21   nature of life insurance. When a potential claim for benefits arises, the policy owner
 22   and party responsible for payment of premiums is often the insured, and due to their
 23   death, is no longer available to explain the circumstances related to any potential
 24   lapse or termination of coverage. The Legislature also recognized that the beneficiary
 25   is often unaware of the circumstances related to any lapse of coverage. Rather, the
 26   insurer is fully in control of the documentation and requirements for termination of
 27   coverage. As such, California requires strict compliance with all statutory and
 28   contractual provisions governing termination of an otherwise in-force policy
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  1   regardless of the nonpayment of premium. In other words, no lapse or termination
  2   for failure to pay a premium is effective, and the policy remains in force even if
  3   premiums are unpaid, unless and until all statutory and contractual provisions are
  4   satisfied.
  5          7.    Plaintiff and the deceased, Mr. Small, are victims of Allianz’s failures.
  6   Plaintiff, on behalf of herself and others similarly situated brings this action to recover
  7   for the injuries and damages resulting from these violations. Plaintiff also requests
  8   injunctive relief intended to ensure Allianz’s future compliance with these important
  9   consumer safeguards and to prevent the ongoing violation of these important statutes.
 10                                       II.    PARTIES
 11          8.    Plaintiff Lawanda D. Small is an individual. Plaintiff is and has been a
 12   resident and citizen of California at all relevant times. At all relevant times, Plaintiff
 13   has been a co-owner and beneficiary of the life insurance policy insuring herself and
 14   her former husband Carl Small.
 15          9.    Defendant Allianz Life Insurance Company of North America is a
 16   Minnesota Corporation doing business in California. It is registered to do business
 17   in California and is licensed by the California Department of Insurance to sell life
 18   insurance here in California. Allianz is one of the largest sellers of life insurance in
 19   California by market share, having written over $216 million in life insurance
 20   premiums in California in 2018 alone. Defendant is the insurer responsible for
 21   administering and honoring the subject policy.
 22                          III.   JURISDICTION AND VENUE
 23         10.    This Court has original jurisdiction pursuant to 28 U.S.C. § 1332,
 24   including under the Class Action Fairness Act. The matter in controversy, exclusive
 25   of interest and costs, exceeds the sum or value of $75,000, and is between citizens of
 26   different States. Also, the matter or controversy is a putative class action with over
 27   100 class members and with over $5 million in controversy.
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  1          11.    Venue is proper in the Central District of California pursuant to 28
  2   U.S.C. Section 1391(b) through (d), because Defendant is authorized to conduct
  3   business in this District and has intentionally availed itself of the laws and markets
  4   within this District; does substantial business in this District; and is subject to
  5   personal jurisdiction in this District. Plaintiff also resides in this District.
  6   IV.     THE ENACTMENT AND APPLICABILITY OF INSURANCE CODE
                       SECTIONS 10113.71 AND 10113.72
  7

  8          12.    In 2012, after extensive and open hearings and public consideration,
  9   including with Allianz and all other major insurance companies doing business in
 10   California, the California Legislature enacted Insurance Code Sections 10113.71 and
 11   10113.72, which instituted procedural requirements for the termination and lapse of
 12   life insurance policies. The Statutes were written to avoid unintended forfeitures of
 13   life insurance policies primarily being suffered by the elderly and the ill.        The
 14   Legislature found that there was a significant problem in California with the elderly
 15   abruptly losing insurance because they happened to miss a premium payment despite
 16   having faithfully and timely paid for many years.
 17          13.    Sections 10113.71 and 10113.72, in addition to other statutory
 18   provisions and laws in effect as of January 1, 2013, mandate that every life insurance
 19   policy in or governed by California law, including policies that have issued, been
 20   delivered, renewed, reinstated, converted or otherwise become subject to the
 21   jurisdiction of California, shall contain a 60-day grace period and that the policy shall
 22   remain in force during the grace period. Cal. Ins. Code § 10113.71(a).
 23          14.    The provisions further require that before an individual life insurance
 24   policy governed by California law is lapsed or terminated for nonpayment of
 25   premium, a 30-day written notice of pending lapse or termination must be mailed not
 26   only to the policyholder, but also to any additional person who had been designated
 27   to receive such notice, as well as any person having any interest in the policy. Cal.
 28   Ins. Code § 10113.72(c).
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  1         15.    The provisions also mandate that the insurer, on an annual basis, as well
  2   as during any application process, notify the policy owner of his or her right to
  3   designate additional notice recipients.
  4         16.    Finally, the statutes mandate that no lapse or termination is effective
  5   unless all the provisions are strictly complied with.
  6         17.    The provisions are applicable individually and severally to all life
  7   insurance policies governed by California law.
  8         18.    More specifically, Section 10113.71 reads as follows:
  9                     § 10113.71 Grace Period; Notice of pending lapse and
                   termination of policy; Mailing requirement
 10
                         (a) Every life insurance policy issued or delivered in this
 11                state shall contain a provision for a grace period of not less than
                   60 days from the premium due date. The 60-day grace period
 12                shall not run concurrently with the period of paid coverage. The
                   provision shall provide that the policy shall remain in force
 13                during the grace period.
 14                      (b) (1) A notice of pending lapse and termination of a life
                   insurance policy shall not be effective unless mailed by the
 15                insurer to the named policy owner, a designee named pursuant to
                   Section 10113.72 for an individual life insurance policy, and a
 16                known assignee or other person having an interest in the
                   individual life insurance policy, at least 30 days prior to the
 17                effective date of termination if termination is for nonpayment of
                   premium.
 18
                         (2) This subdivision shall not apply to nonrenewal.
 19
                        (3) Notice shall be given to the policy owner and to the
 20                designee by first-class United Sates mail within 30 days after a
                   premium is due and unpaid. However, notices made to assignees
 21                pursuant to this section may be done electronically with the
                   consent of the assignee.
 22
                         (c) For purposes of this section, a life insurance policy
 23                includes, but is not limited to, an individual life insurance
                   policy and a group life insurance policy, except where
 24                otherwise provided.
 25               Next, Section 10113.72 says:
 26                     § 10113.72 Right to designate person to receive notice of
                   lapse or termination of policy for nonpayment of premium;
 27                Right to change designation; Notice of lapse or termination
 28
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  1                        (a) An individual life insurance policy shall not be issued
                    or delivered in this state until the applicant has been given the
  2                 right to designate at least one person, in addition to the applicant,
                    to receive notice of lapse or termination of a policy for
  3                 nonpayment of premium. The insurer shall provide each
                    applicant with a form to make the designation. That form shall
  4                 provide the opportunity for the applicant to submit the name,
                    address, and telephone number of at least one person, in
  5
                    addition to the applicant, who is to receive notice of lapse or
  6                 termination of the policy for nonpayment of premium.
  7                       (b) The insurer shall notify the policy owner annually of the
                    right to change the written designation or designate one or more
  8                 persons. The policy owner may change the designation more
                    often if he or she chooses to do so.
  9
                          (c) No individual life insurance policy shall lapse or be
 10                 terminated for nonpayment of premium unless the insurer, at
                    least 30 days prior to the effective date of the lapse or
 11                 termination, gives notice to the policy owner and to the person or
                    persons designated pursuant to subdivision (a), at the address
 12                 provided by the policy owner for purposes of receiving notice of
                    lapse or termination. Notice shall be given by first-class United
 13                 States mail within 30 days after a premium is due and unpaid.
 14           19.   These Statutes are regulatory in nature and contain no grandfather

 15   provisions limiting their application only to policies first issued or delivered after

 16   January 1, 2013. Rather, they apply to all policies still in existence as of January 1,

 17   2013.

 18           20.   These provisions were intended to standardize the procedures and

 19   notices used by life insurers to terminate policies. The Statutes further codified long-

 20   standing California law and policy regarding the State’s desire to protect

 21   policyholders and beneficiaries from loss of insurance resulting from the failure, e.g.,

 22   to pay a single premium after years of timely payments. These provisions,

 23   individually and collectively, were intended to apply to policies in force as of January

 24   1, 2013 and thereafter, including those policies that would come within the

 25   jurisdiction of the state and regardless of the date of any original issuance.

 26           21.   The principal supporters of the legislation were groups representing the

 27   elderly and the retired as well as constituents dealing with health concerns. There was

 28   no substantive opposition to the legislation during its drafting. Rather, the insurance
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  1   industry supported these new provisions and accepted that the goal and purpose of
  2   the legislation was legitimate and in the best interest of their policyholders and
  3   beneficiaries. Prior to enactment, there was never a public or private dispute that the
  4   enactment of provisions codifying a contractual right to a 30-day written notice, a 60-
  5   day grace period, and an annual right to designate was within the proper exercise of
  6   California’s regulatory authority.      Furthermore, after repeated review, it was
  7   determined that enactment of these provisions would have no substantial fiscal or
  8   economic ill effect. It was determined that these Statutes support a strong public
  9   policy to safeguard consumers’ investment in life insurance, and the safety blanket
 10   that insurance provides.
 11                      V.      ALLIANZ’S VIOLATIONS OF LAW
 12         22.     In 2012, Defendant was made fully aware of the drafting and enactment
 13   of these provisions. And through its own lobbying groups and regulatory advisors,
 14   Defendant understood how and in what fashion The Statutes would apply.
 15         23.     Despite early knowledge of the Statutes and their mandates, since
 16   January 1, 2013, Defendant has failed to comply with the Statutes.
 17         24.    Allianz’s failure to comply with these provisions has resulted in,
 18   amongst other impacts, the improper lapse, termination, and/or forced reinstatement
 19   of policies, the loss of the capacity of policyholders to be insured, the denial of actual
 20   claims, and the loss of millions, or perhaps billions, in insurance benefits that
 21   Defendant has now illegally retained. Plaintiff and her family have suffered and
 22   continue to suffer various forms of injury and loss, including injury from an improper
 23   lapse, improper requirement of reinstatement and termination, and from Defendant’s
 24   failure to reinstate coverage or otherwise pay the benefits due.
 25         25.    Plaintiff is informed and believes that the failure of Defendant to comply
 26   with these statutes as well as the resulting injuries and damages continue to this day
 27   for many Californians.
 28
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  1               VI. PLAINTIFF’S POLICY, LAPSE, TERMINATION,
                   REINSTATEMENT, AND DENIAL OF HER CLAIM
  2

  3         26.    In 1990, Plaintiff and her husband Carl Small purchased, from or in

  4   California, a life insurance policy (the “Policy” or “Subject Policy”) from LifeUSA

  5   Insurance Company, which was later fully acquired and subsumed by Defendant,

  6   along with the Subject Policy and all of its obligations. As of January 1st, 2013, and

  7   at all times thereafter, Defendant was responsible for all contractual and statutory

  8   obligations associated with the Policy.

  9         27.    Plaintiff is informed and believes that a full and complete copy of the

 10   Subject Policy, Policy No. 81605, is attached as Exhibit A. The Policy was purchased

 11   in California, was issued and delivered in California, and premiums were all paid

 12   from California such that it was and continues to be governed by the laws of the State

 13   of California including but not limited to The Statutes. The purpose of this policy

 14   was to protect Plaintiff, Mr. Small, and their young family.

 15        28.     The value of the policy is $75,000 or more and names Plaintiff as a co-

 16   owner and beneficiary. Under the terms of the Policy, “[w]hen the Insured dies, we

 17   will pay the death benefit in a lump sum unless you or the beneficiary choose a

 18   settlement option.” See Exhibit A. The premium payment was about $38 per month.

 19   Under the terms of the Policy all premium payments were required to be accepted

 20   “while the policy was in force.”

 21        29.     Plaintiff stayed current on the policy and faithfully paid the premiums

 22   every month for almost 30 years, and well beyond the enacting of The Statutes by the

 23   California legislature in 2013.

 24        30.     Despite the application of California law, at no time during 2013, 2014,

 25   2015, 2016, 2017, 2018, or 2019 did Defendant advise Plaintiff or Mr. Small in any

 26   fashion of their right to designate another recipient of important policy notices or of

 27   their right to a 30-day notice prior to any effective lapse or termination. Rather, at

 28   various times, Defendants misstated the actual form and type of notice required by
                                              8
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   1   law and the terms of the policy. Defendant also withheld and concealed from Plaintiff
   2   the right to designate and Defendant’s previous failure to comply with those
   3   provisions. Plaintiff is informed and believes that these failures were part of a general
   4   business practice of Allianz of ignoring and misapplying Sections 10113.71 and
   5   10113.72.
   6         31.    After making premium payments consistently for almost 30 years via
   7   bank draft, one payment was apparently missed in 2016. The policy was lapsed in
   8   August of 2016. Plaintiff did not realize the issue at the time and Plaintiff has no
   9   record of her or Mr. Small receiving notices of any missed premium payment in 2016
  10   or of any impending lapse or the triggering of any mandatory 60-day grace period.
  11         32.    Prior to the filing of this suit, in 2019, Plaintiff made a claim with
  12   Allianz after the death of insured Carl Small, whom she had purchased the policy
  13   with in 1990. At the time, Plaintiff was still unaware that there had been any problem
  14   with the subject policy or the payment of its premiums.
  15         33.    Allianz, though, denied Plaintiff’s claim citing, for the first time, a
  16   supposed lapse for nonpayment of premium. Plaintiff then requested information
  17   regarding the lapse. Allianz advised that it had searched for and forwarded policy
  18   notices that it claims were sent, but Allianz has produced no evidence that it
  19   completely satisfied The Statutes nor were the forwarded documents sufficient to
  20   comply with the terms and conditions of the Statutes.       Had Allianz had any such
  21   proof, it should have been produced prior to the denial of the claim. In short, Allianz
  22   has not complied with all of the requirements of The Statutes.
  23         34.     Plaintiff made requests for reinstatement of the policy and advised that
  24   she had not received proper notice, but Allianz refused to reinstate or reaffirm
  25   coverage.    This refusal not only further violated the Statutes but also the express
  26   terms of the policy that required acceptance of premium payments.
  27        35.     At no point has Defendant complied with or attempted to comply with
  28   Sections 10113.71 or 10113.72 regarding the subject policy. This termination of The
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   1   Policy not only violated the terms of the California Insurance Code, but also
   2   constituted a material breach of the contract.
   3        36.     Defendant failed to substantially, let alone strictly, comply with any of
   4   the mandates of Sections 10113.71 or 10113.72. Due to each and every violation of
   5   these Statutes, the lapse and termination of the Policy was void and ineffective. As
   6   such, the Policy remained in force through the insured’s death and is currently in full
   7   force. As such, benefits are owed under the terms of the policy as well as under
   8   California law.
   9                       VII. CLASS ACTION ALLEGATIONS
  10         37.    Plaintiff is informed and believes that Defendant has not, since at least
  11   January 1, 2013, properly complied with the provisions of Insurance Code Sections
  12   10113.71 and/or 10113.72. Since that time, Defendant has failed and continues to fail
  13   to provide these protections to policy owners, assignees and their beneficiaries as a
  14   matter of standard policy.
  15         38.    Plaintiff brings this action on behalf of all members of the following
  16   proposed class:
  17         The Class:
  18         All past, present, and future owners or beneficiaries of Defendant’s
             individual life insurance policies in force on or after January 1, 2013
  19         and governed by Sections 10113.71 and/or 10113.72, where the
             policies underwent or will undergo lapse, termination, and/or
  20         reinstatement without Defendant first providing written notice of and
             an actual 60-day grace period, a 30-day notice of pending lapse and
  21         termination, and/or an annual notice of a right to designate at least one
             other person to receive notice of lapse or termination of a policy for
  22         nonpayment of premium.
  23

  24        39.     Subject to additional information obtained through further investigation
  25   and discovery, the foregoing class definition may be expanded or narrowed by
  26   amendment or amended complaint or at the time of moving for class certification.
  27   Specifically excluded from the proposed Class is the Judge assigned to this action,
  28   and any member of the Judge’s immediate family.
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   1        40.     Defendant’s conduct has imposed a common injury and/or harm on all
   2   class members. Defendant has acted, and has refused to act, on grounds generally
   3   applicable to the class members, which makes final injunctive relief with respect to
   4   each claim as a whole appropriate.
   5        41.     Plaintiff will and does faithfully represent, and is a member of the Class.
   6        42.     Numerosity. The members of the Class are so numerous that their
   7   individual joinder is impracticable. Plaintiff is informed and believes, and on that
   8   basis alleges, that the proposed Class contains thousands and perhaps tens-of-
   9   thousands of members. The precise number of members is unknown to Plaintiff. The
  10   true number of members is known or ascertainable by Defendant, as are their
  11   identities. Thus, Class members may likely be notified of the pendency of this action
  12   by first class mail, electronic mail, and/or by published notice.
  13        43.     Existence and Predominance of Common Questions and Answers of
  14   Law and Fact. There is a well-defined community of interest in the questions and
  15   answers of law and fact involved affecting class members. The questions and
  16   answers of law and fact common to the class predominate over questions and answers
  17   affecting only individual class members, including, but not limited to, the following:
  18                       a.    Whether Sections 10113.71 and 10113.72, in whole or in
  19                part, apply to Defendant’s life insurance policies.
  20                       b.    Has Defendant violated and does it continue to violate the
  21                provisions of Sections 10113.71 and 10113.72?
  22                       c.    Whether Defendant’s life insurance policies have been
  23                ineffectively lapsed or terminated or subsequently been unnecessarily
  24                modified through reinstatement.
  25                       d.    Whether Defendant is required to provide grace periods,
  26                timely and proper written notices of pending lapse or pending
  27                termination, and to provide policyholders a right to designate as set forth
  28                in Section 10113.72.
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   1                       e.     Should the Court invalidate improper lapses, terminations,
   2                and/or reinstatements of policies that resulted from Defendant’s failure
   3                to comply with the Insurance Code?
   4                       f.     Should Defendant be required to make payments to
   5                beneficiaries of Policies where the insured has died and the policy was
   6                lapsed or terminated in violation of Sections 10113.71 or 10113.72?
   7         44.    Typicality. Plaintiff’s claims are typical of the claims of the members
   8   of the Class because Plaintiff and each member of the Class were victims of the same
   9   statutory violations. Further, Plaintiff’s claims are typical of the claims of her fellow
  10   Class members, which all arise from the same operative facts involving the
  11   Defendant’s unlawful violations of Sections 10113.71 and 10113.72.
  12         45.    Adequacy of Representation. Plaintiff will fairly and adequately protect
  13   the interests of the Class. Plaintiff has retained counsel highly experienced in
  14   handling class action litigation, including that which involves consumer protection
  15   from unfair insurance business practices, and Plaintiff intends to prosecute this action
  16   vigorously. Plaintiff has no interest adverse or antagonistic to that of the Class.
  17        46.     Superiority. A class action is a superior method for the fair and efficient
  18   adjudication of this controversy. The damages or other financial detriment suffered
  19   by individual Class members are relatively small compared to the burden and expense
  20   that would be expended by individual litigation of their claims against Defendant. It
  21   would thus be virtually impossible for Class members, on an individual basis, to
  22   obtain effective redress for the wrongs done to them. Furthermore, even if Class
  23   members could afford such individualized litigation, the court system could not.
  24   Individualized litigation would create the danger of inconsistent or contradictory
  25   judgments arising from the same set of facts. Individualized litigation would also
  26   increase the delay and expense to all parties and the court system from the issues
  27   raised by this action. The class action device provides the benefit of adjudication of
  28   these issues in a single proceeding, economies of scale, and comprehensive
                                               12
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   1   supervision by a single court, and presents no unusual management difficulties under
   2   the circumstances. Moreover, many Class members remain unaware of their rights
   3   and without this Class action, would remain unaware of their rights and benefits.
   4         47.    In the alternative, the Class may also be certified because:
   5                (a)    The prosecution of separate actions by individual Class members
   6         would create a risk of inconsistent or varying adjudication with respect to
   7         individual Class members that would establish incompatible standards of
   8         conduct for the Defendants;
   9                (b)    The prosecution of separate actions by individual class members
  10         would create a risk of adjudications with respect to them that would, as a
  11         practical matter, be dispositive of the interests of other Class members not
  12         parties to the adjudications, or would substantially impair or impede their
  13         ability to protect their interests; and/or
  14                (c)    Defendant has acted or refused to act on grounds generally
  15         applicable to the Class, thereby making appropriate final declaratory and/or
  16         injunctive relief with respect to the members of the Class as a whole.
  17        48.     Unless the Class is certified, Defendant will retain monies received
  18   because of its conduct taken against the class members and Plaintiff. Unless a Class-
  19   wide injunction is issued, Defendant will continue to commit the violations alleged
  20   and members of the Class will continue to be harmed.
  21         49.    Plaintiff knows of no difficulty likely to be encountered in the
  22   management of this litigation that would preclude its maintenance as a Class Action.
  23   Because the action is brought as a Class Action, the Court need only apply a single
  24   set of California laws as they relate to Defendant’s violation of Sections 10113.71
  25   and 10113.72.
  26         50.    Plaintiff has incurred, and will incur, expenses for attorney’s fees and
  27   costs in bringing this action. These attorney’s fees and costs are necessary for the
  28
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                                    CLASS ACTION COMPLAINT
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   1   prosecution of this action and will result in a benefit to each of the members of the
   2   class.
   3                            VIII. FIRST CAUSE OF ACTION
   4                   FOR DECLARATORY JUDGMENT OR RELIEF
                            (CAL CIV. CODE § 1060 ET SEQ.)
   5
                       (By Plaintiff, individually and on Behalf of the Class)
   6                                   (Against all Defendants)
   7            51.   Plaintiff incorporates by reference each and every allegation contained
   8   above.
   9            52.   Under California law, “[a]ny person interested under a written
  10   instrument…or under a contract, or who desires a declaration of his or her rights or
  11   duties with respect to another…may, in cases of an actual controversy relating to the
  12   legal rights and duties of the respective parties,” may maintain a complaint or cross
  13   complaint “for a declaration of his or her rights and duties.” Furthermore, he or she
  14   “may ask for a declaration of rights or duties, either alone, or with other relief, and
  15   the court may make a binding declaration of these rights or duties, whether or not
  16   further relief is or could be claimed at the time.” (Cal. Civ. Code § 1060.)
  17            A.    Basis for Relief
  18            53.   On January 1, 2013, the California Insurance Code was amended by
  19   Sections 10113.71 and 10113.72. The provisions of The Statutes were immediately,
  20   and thereafter, read into all in-force policies regardless of the date of issuance.
  21            54.   These statutes and amendments to the California Insurance Code were
  22   intended to and do regulate the lapse and termination procedures arising from the
  23   nonpayment of premiums which may occur from the date of enactment and thereafter.
  24            55.   The amendments were not intended to relieve or waive a policyholder’s
  25   continuing obligation to pay premiums but operated to keep the policy in force until
  26   the policy was properly lapsed or terminated consistent with the statutory provisions
  27   which were incorporated into the terms of the policy by law. Each of these statutory
  28   requirements were intended to stand alone.
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                                     CLASS ACTION COMPLAINT
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   1         56.    Forfeiture provisions for nonpayment of premium for life insurance
   2   policies are strictly construed against lapse or termination and California law
   3   disfavors forfeiture of insurance. Forfeitures “are often the means of great oppression
   4   and injustice” and “the courts should be liberal in construing the transaction in favor
   5   of avoiding a forfeiture.” (Ins. Co. v. Norton (1978) 96 U.S. 234, 242.) “Forfeiture
   6   of a policy will be avoided on any reasonable showing.” Klotz v. Old Line Life Ins.
   7   Co. of Amer., 955 F.Supp. 1183, 1188 (N.D. Cal. 1996).
   8         B.     There is an Actual Controversy Requiring a Declaration of Rights
                    and Duties
   9

  10         57.    An actual controversy has arisen and now exists between Plaintiff and
  11   Defendant concerning their respective rights and duties under the California
  12   Insurance Code and the Policy. Plaintiff contends Sections 10113.71 and 10113.72
  13   apply to the Subject Policy as well as all of Defendant’s California life insurance
  14   policies in force as of or after January 1, 2013, including any policies that were
  15   renewed in California on or after January 1, 2013. Plaintiff also contends these
  16   Statutes govern the manner and procedure in which life insurance policies can legally
  17   be lapsed or terminated as of January 1, 2013, and thereafter. Defendant contends
  18   and acts as if the Statutes do not apply to these policies.
  19         58.    Plaintiff desires a judicial determination of rights and duties, and a
  20   declaration or judgment that Sections 10113.71 and 10113.72 applied as of January
  21   1, 2013, to Defendant’s California policies in force as of or at any time after January
  22   1, 2013, including the Subject Policy.
  23         59.    A judicial declaration would advise insureds and their beneficiaries like
  24   Plaintiff of their rights, and would advise Defendant of its duties to Plaintiff and to
  25   Class members concerning policyholders' rights to designate individuals to receive
  26   notices of pending lapse and termination and the right to receive notice of, and the
  27   ability to properly utilize, the legally required grace period. A judicial declaration is
  28   also necessary to determine the validity of any unnecessary reinstatements obtained,
                                                15
                                     CLASS ACTION COMPLAINT
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   1   to determine whether policies were legally in force at the times of deaths of insureds,
   2   and to determine whether beneficiaries were wrongfully denied payment of benefits
   3   under their policies.
   4                           IX.   SECOND CAUSE OF ACTION
   5         FOR DECLARATORY JUDGMENT OR RELIEF (FEDERAL
            DECLARATORY JUDGMENT ACT – 28 U.S.C. §§ 2201, ET SEQ.)
   6
             (By Plaintiff, individually and on Behalf of the Class and Sub-Class)
   7                                (Against all Defendants)
   8         60.    Plaintiff incorporates by reference each and every allegation contained
   9   above.
  10         61.    Under federal law, “[i]n a case of actual controversy within its
  11   jurisdiction, … any court of the United States … may declare the rights and other
  12   legal relations of any interested party seeking such declaration, whether or not further
  13   relief is or could be sought. Any such declaration shall have the force and effect of a
  14   final judgment and shall be reviewable as such.” (28 U.S.C. 2201; Fed. Rule Civ.
  15   Proc., Rule 57).
  16         62.    Here, an actual controversy has arisen and now exists between Plaintiff
  17   and Defendant within this Court’s jurisdiction concerning the parties’ respective
  18   rights, duties, and legal relations under the California Insurance Code and the Policy.
  19   Plaintiff contends Sections 10113.71 and 10113.72 apply to the Subject Policy and
  20   all of Defendant’s California life insurance policies in force as of or after January 1,
  21   2013, including any policies that were renewed in California on or after January 1,
  22   2013. Plaintiff also contends these Statutes govern the manner and procedure in
  23   which life insurance policies can legally be lapsed or terminated as of January 1,
  24   2013, and thereafter. Defendant contend and acts as if Sections 10113.71 and
  25   10113.72 do not apply to many categories of their policies, such as Plaintiff’s Policy.
  26         63.    Plaintiff hereby seeks a judicial determination of rights and duties, and
  27   a declaration or judgment that Sections 10113.71 and 10113.72 applied as of January
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                                     CLASS ACTION COMPLAINT
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   1   1, 2013, to Defendant’s California policies in force as of or at any time after January
   2   1, 2013, including Plaintiff’s Policy.
   3         64.     A judicial declaration would advise insureds and their beneficiaries like
   4   Plaintiff of their rights, and would advise Defendant of its duties to Plaintiff and to
   5   Class members concerning policyholders' rights to designate individuals to receive
   6   notices of pending lapse and termination and the right to receive notice of, and the
   7   ability to properly utilize, the legally required grace period. A judicial declaration is
   8   also necessary to determine the validity of any unnecessary reinstatements obtained,
   9   to determine whether policies were legally in force at the times of deaths of insureds,
  10   and to determine whether beneficiaries were wrongfully denied payment of benefits
  11   under their policies.
  12                             X.     THIRD CAUSE OF ACTION
  13                                  BREACH OF CONTRACT
  14                     (By Plaintiff, Individually and on Behalf of the Class)
                                         (Against all Defendants)
  15

  16         65.     Plaintiff incorporates by reference each and every allegation contained
  17   above.
  18         66.     Defendants breached and continue to breach the express terms of their
  19   life insurance policies, including Plaintiff’s Policy, as well as the statutory mandates
  20   regarding such policies, by, amongst other things:
  21               (a)        Failing to include in such policies and failing to provide a 60-day
  22         grace period for purposes of payment of premiums and lapse and termination
  23         of coverage for nonpayment of premium;
  24               (b)        Lapsing and/or Terminating policies before expiration of the 60-
  25         day grace period;
  26               (c)        Failing to include in such policies and failing to provide accurate
  27         30-day written notice of pending lapse or termination;
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                                       CLASS ACTION COMPLAINT
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   1               (d)         Failing to provide proper notice to policyholders on an annual
   2         basis of the policyholders' right to designate individuals to receive notices of
   3         pending lapse or termination;
   4               (e)         Lapsing or terminating policies without strictly complying with
   5         the terms of the policies;
   6               (f)         Refusing to pay benefits to beneficiaries, despite knowledge and
   7         information that Defendants had not strictly complied with the terms of the
   8         policies;
   9               (g)         Improperly requiring reinstatement of policies that had not lapsed
  10         or terminated and which were not required or were not subject to reinstatement;
  11               (h)         By failing to pay benefits or claims;
  12               (i)         By failing to provide the notices required by the policy; and
  13               (j)         By failing to apply the applicable law to the insurance contract.
  14         67.         Under the terms of this Policy and consistent with laws of California,
  15   Plaintiff was entitled to sufficient written notice and sufficient grace periods prior to
  16   the effectuation of any lapse or termination for non-payment. Allianz did not provide
  17   all required protections and, thus, breached the insurance contract by failing to
  18   provide these mandatory safeguards.
  19         68.         Allianz also failed to pay the benefits due under these policies and
  20   thereby breached the express term of the policy where Allianz promised to pay the
  21   benefits owed.
  22         69.         All the aforementioned conduct, individually and collectively,
  23   constitutes material unexcused breaches of the policies. To the extent any contractual
  24   obligations, duties, or conditions are imposed on policyholders or on beneficiaries,
  25   those obligations, duties, and conditions have been waived and/or have been excused
  26   due to Defendant’s material breaches. After each material breach, each policy owner
  27   was thus excused from the further tendering of premiums and from any further
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                                        CLASS ACTION COMPLAINT
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   1   performance under the terms of the policy, including but not limited to the acceptance
   2   of any offer by Allianz of any reinstatement or modification to the policy.
   3         70.    Defendant’s conduct caused injury upon the false, wrongful and
   4   inadequate termination of coverage devaluing the policy and subsequently caused
   5   injury in fact through the further denial of an ability to resume coverage, and
   6   ultimately in refusing to pay the claim. Plaintiff and her fellow class members
   7   suffered harm through the loss of coverage, the loss of peace of mind related to the
   8   existence of coverage, and the capacity to utilize the years of investment in the
   9   wrongfully lapsed and terminated policy.
  10         71.    To the extent any policyholders and/or beneficiaries have failed to
  11   comply with any payment conditions or other conditions for the continuation of
  12   insurance, Defendants are estopped to assert such conditions due to their conduct and
  13   material breaches. Yet, Defendants have done so with respect to Plaintiff and
  14   members of the Class and sub-class.
  15         72.    In California, the measure of damage for material breach of a life
  16   insurance policy is set as the “sum or sums payable in the manner and at the times as
  17   provided in the policy to person entitled thereto.” Cal. Ins. Code § 10111.
  18         73.    As a legal and proximate result of the conduct described herein, the class
  19   and sub-class have suffered direct and foreseeable economic damages, including loss
  20   of policy benefits, and allowed interest under the terms of the policy and the law, in
  21   a nature and amount to be proven at the time of trial.
  22
                             XI.   FOURTH CAUSE OF ACTION
  23
                    UNFAIR COMPETITION (CALIFORNIA BUSINESS
  24                   & PROFESSIONS CODE §§ 17200, ET SEQ.)
  25                 (By Plaintiff, individually and on Behalf of the Class)
                                     (Against All Defendants)
  26
  27         74.    Plaintiff incorporates by reference each and every allegation contained
  28   above.
                                               19
                                    CLASS ACTION COMPLAINT
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   1         75.    California Business and Professions Code Sections 17200, et. seq.
   2   (“UCL”) prohibit any unlawful, unfair, deceptive, or fraudulent business practice.
   3         76.    Defendants committed “unlawful” acts under the UCL by violating and
   4   continuing to violate Sections 10113.71 and 10113.72, including by failing to afford
   5   insureds, including Plaintiff, the requisite grace periods and notices.
   6         77.    Plaintiff’s policy as well as Policies which have allegedly been lapsed
   7   and/or terminated are still in force and are payable or subject to continuation of
   8   insurance.   Because of Allianz’s violations of the California Insurance Code,
   9   Allianz’s attempted terminations or lapses of policies like the Subject Policy were
  10   illegal and ineffective. The policies, in other words, remain in force and subject to
  11   payment of the benefit. Allianz’s failure to comply with the statutory terms has not
  12   effectively terminated any policy, and Plaintiff and her fellow class members all
  13   remain in an ongoing valid contractual relationship with Allianz.
  14         78.    Allianz’s unlawful practices also included and continue to include
  15   Defendant’s ongoing concealment that Sections 10113.71 and 10113.72 apply to a
  16   class or classes of life insurance in force on or after January 1 st, 2013. Defendant
  17   continues to conceal and mislead the policyholders and beneficiaries of the existence
  18   of a right to proper notices and grace periods, as well as the provisions of these
  19   statutes that mandate strict compliance with these provisions before any effective
  20   lapse or termination occurs. Defendant has failed and continues to fail to explain to
  21   the policyholders and beneficiaries that a life insurance policy in force on or after
  22   January 1st, 2013 cannot be effectively terminated until strict compliance with all
  23   provisions of the insurance provisions, and that without such strict compliance the
  24   policy remains in force.
  25         79.    Moreover, Allianz has committed deceptive acts under the UCL by
  26   affirmatively and erroneously telling class members, like Plaintiff, that their policies
  27   had grace periods of less than 60 days and/or that their policies have lapsed or
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                                    CLASS ACTION COMPLAINT
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   1   terminated. The truth is that the policies had grace periods of at least 60 days and the
   2   policies had not actually lapsed or terminated.
   3         80.    The unlawful and unfair business practices described above have
   4   proximately caused harm and injuries to Plaintiff, the class, and to the general public
   5   in the form of lost money and property. The money lost by the class includes the
   6   policy benefits that Allianz is withholding as well as the premiums that it wrongfully
   7   collected.
   8         81.    Pursuant to California’s UCL, Plaintiff, the general public, and the
   9   members of the Class are entitled to restitution of the money or property acquired by
  10   Defendant by means of such business practices, in amounts yet unknown, but to be
  11   ascertained at trial. Examples of this lost money acquired illegally by Defendant
  12   include un-refunded premiums, withheld benefits, and diminution of value of
  13   policies.
  14         82.    Defendant continues to this day to ignore or otherwise violate The
  15   Statutes, continuing to rob owners and beneficiaries, like Plaintiff, of their lawfully
  16   owned policies and benefits. As such, and pursuant to California’s UCL, Plaintiff
  17   and the members of the class and the general public are also entitled to injunctive
  18   relief, including public injunctive relief, against Defendant’s ongoing business
  19   practices.
  20         83.    If Defendant is not enjoined from engaging in the unlawful business
  21   practices described above, Plaintiff, the class, and the general public will be
  22   irreparably injured.
  23         84.    Plaintiff, the general public, and the members of the class have no plain,
  24   speedy, and adequate remedy at law.
  25         85.    Plaintiff’s success in this action will result in the enforcement of
  26   important rights affecting the public interest by conferring a significant benefit upon
  27   the general public.
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                                    CLASS ACTION COMPLAINT
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   1         86.      Private enforcement of these rights is necessary as no public agency has
   2   pursued enforcement and the interests Plaintiff seeks to protect are for the benefit of
   3   the general public. Plaintiff is therefore entitled to an award of attorneys’ fees and
   4   costs of suit pursuant to, among others, California’s UCL, the Common Fund
   5   doctrine, the Public Benefit Doctrine, and California Code of Civil Procedure Section
   6   1021.5.
   7                               XII. PRAYER FOR RELIEF
   8         Plaintiff prays for relief against Defendant as follows:
   9         1. For certification of this action as a Class Action;
  10         2. A declaration of Plaintiff's and the Class’ rights pursuant to the insurance
  11               policies issued by Defendant and a declaration that Defendant has violated
  12               The Statutes;
  13         3. For an injunction to issue against Defendant stopping and remedying the
  14               ongoing violation of The Statutes, including public injunctive relief;
  15         4. For economic damages according to proof where available;
  16         5. Fore restitution where available;
  17         6. For interest where available;
  18         7. For attorneys’ fees and all litigation costs and expenses where available;
  19               and
  20         8. For such other and further relief as this Court deems just and proper.
  21                            XIII. DEMAND FOR JURY TRIAL
  22         Plaintiff hereby requests a trial by jury.
  23

  24   Respectfully submitted:
  25   DATED: February 27, 2020                        NICHOLAS & TOMASEVIC, LLP
  26
                                                By:     /s/ Craig Nicholas
  27                                                   Craig M. Nicholas (SBN 178444)
                                                       Alex Tomasevic (SBN 245598)
  28                                                   Shaun Markley (SBN 291785)
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                                      CLASS ACTION COMPLAINT
Case 2:20-cv-01944-TJH-KES Document 1 Filed 02/27/20 Page 24 of 46 Page ID #:24


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   7
                                         Attorneys for Plaintiff Lawanda D. Small
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                                CLASS ACTION COMPLAINT
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                   EXHIBIT A
                                 Case 2:20-cv-01944-TJH-KES Document 1 Filed 02/27/20 Page 26 of 46 Page ID #:26

APPLICATION FOR LIFE INSURANCE                                                                                                                                                      ljfelJSA'" Insurance c;O:rilp{ll1Y,
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 l. PLANNED PERIODIC PREMIUM~,
    □·· Arinval · ,. _. . " O" $1!,i~i·i~uat' ~: 0                                             OuartMly
      '\I Monlh;y f'I\C . ·                  Cl      l.-lsi 6111'"tir(;IIP No,    )>~'M'"''"'"" _ _ _ _ __


    · tJ       &:v• . ~1101
      ,r.,,· ,' , ,         ,t,$;,,1\i
                                    " "'.    q
                                       '7 ·,,..
                                             ·~•.;m.;>' .                                                  ·· ..:.3
                                                                                                              · '1,       · 11 'r,            n.' ""''. \,' ·.,. ,·,,
                                                                                                                                              ~
       Jt MOOAl"nrn,.uuM I\MO!Jt,l'f,t<:.,,,,~~··~ ·                                                           ,.,,..,.,,9,,.,.,...........                      ·
       b AOOI riONtll PA~MtUM (.etffil)u,;I ii'! ~XCl!l:il! of planl'll!d                                                  ~'"' r,, -~· \:•:,,,,                ;::
       t             I,                       \                                  ,.,                                            '               \·                    •


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                    1                                                                                                                                                                                                                        wl1offi''l(Jvtf#1Jt ls not t)eing rt1qoo~IE1d7
       ~::~:1~~ ;~;~7!~ b!
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     'b vEs
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                                       I•,(!'"
      AMOU"'t SVl3M!TTt0 WITH APP.(~ .. ,
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      SENtl Pt.,ANNF..0 t'i:j=JIOOiC PAYMENT NOTJClfS ,,, ·
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                                                                   CJ     Pioposea l~~Urtd
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                                                                                                                                                                                                                       ohlltlfeJ_ ,tii,Wfl a_b<'"'11" Wh-0 i:lll !"101 hvi Wi!II lt'llt.' -appjit".lflt?
                                                                                                                                                                                                                                                ·      .
                                                                                                                                                                                                                                                              III
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                                                                   □ Applii;;MI \OwnorJ
     }:I      NO                                                   □ Oth!lt

  """
                              l-20 ilO l-00 3"~Ud"                                                    l-500-890ESE00l-l                                                      u~sw              ll860E9l-885/W2il :WOUil lSJ 9l-:60:ll 0202 l2                                                                                                                                   qai[
                Case 2:20-cv-01944-TJH-KES Document 1 Filed 02/27/20 Page 27 of 46 Page ID #:27

                                                                                                                                                                                                                                                                                           ,-,/c,::,,,,
               1·                                              ~)
                                                               ·:] 'll:.i:.1•~:•
      ,.         . ,,.,. tJ -;.:·:·,:, ..,;,; . ,,•,"',>..,                                                                                                                                         .,:·.\ .t,\,•· . ·,,:':\:   :..i+,
 14. BENEFICIARY· STATE FULL NAM€ ANO RELATIONSHIP                                                            ..             .
      ~ri!!"'llj(e\fp····a·~pe(i9iarv ... L. L '                 ).· .· . ··t. .·. . . . ......    19. FOAEI.G~/~AY.E.L; ~v1~r1q_N AN.D .~ILIT1RY. '.··..             Yes':• NO
      !.Jl.        J).!!A.c.U.. 5('11.ll              ,._;; \W.!1::f_,,.__ ,:                          a. Exc~pt for .vaca11on trips, does any person to be
     Contingent.Be.neticiary····· ..                       ..... · · ....: · . ·               1 :      . covered in.te1.1d to.tr.ve.. 1o.utslde the U.S.. ~r Canada
        ear.L         ,J...,; , . .).ty._A/,,,C                                                                          J./,...l&,_..r
                                                                                                            withitiihenexttwQ'f'ctr~i·' "' 1"' 1 :"                 . □      J1ia   .
                                                         . · ~¥5,J··· moi.·.~;;······ i . iii, ... ~-
      ~e~insurediSp~us~~;~··~~n.·.eef·f·ii.c1;;;-..-.· ·~.·                                                        i          1                            01
                                                                                                                               ::~::~~vor:~;~f:::a~~t~~r 1~:~                              ~;:'pti::;:~                                                                      ~t~
~      Contl~gfnreeneilc~~~;'·-···· -·: ...• ····~-· .l: "                                                  passenger during the p~st \WO years?·                      CJ 9li
       :2J.og~i:.6.&?J;S.. _,;;.:_ -           /]Jq .      .      Wta.!.;i                                   I( "Yi:s:.completo Avi~tio~,pueslionnaire .......
     BENEFICIARY FOR CHILDREN IS TtiE PRIMARY INSURED. .                                               C. lsanyper~on tobecovere~amemberordoesheorshe
  -----------'----·"--•-·--·-··-·..                                                                      ..lnt~nd ,to become a. m.. e~b•r. o.f the. armed forces •.
  N .A . .            ..,, , -· ,...                                                                        incfudlng reserves?·;·                                           kl                                                          v , , ·~;, ./,.                    , . ,,.'-6
 15, O):VNER (ii other tha;l the Perso···.n to be l111sy,lid)                                                .It '.Ye.f•.•give jet~iJslrr. REMl\~KS. .· .                         , •i·
     F> lnd·»·d • I               Full N            ·           /                                   ..--··~'."-·_ _ _,.......•-.7 . ,,..••-                               •. - _ _,;..__ __
     "'"'      . Iv} ,ua        '          ame •n.,.,,,.-~.. ,I                        ,,.,V.~•.... ,_                 .~                       .. ' '               ,, '

     t:l Corptiration . Soc. Sec·., iax. or ployer IO No . "'···-···.'····. .-.,,. . . . .~.....,.12.0, AVOCAJl9~ AND SP.ORTS .                                    ..'.      . ., .     YES NO
     □ Parinar~hlp Address                                     _ _ _ _ _. ~ - ~ :                      · Does any pa/son to be covered participate 111 recreational                            · ,•
     □ trustee
                                                                                                      .      activities involving: ·. ·.·..                     . .·. . . . .
                                                                                                         a. Aeronautics (including h~ng gliding, uliia light, soaring,
     Billing Address (it' difforen                                                      ''·--               ----·-·
                                                                                                             sky diving; ballooning)? ·                                 ·            · D            )a
                                                                                                           ·•Frequenc)': ' · . .                              ~quipmcnt; .. ,....
 ,::;~---   ....... ,.,,,..,,
                              . ·~~~~
                                       ...                                '""                ''
                                                                                                           ·tfocation/area:           ·                   Future participation: .,...•......,.
                                                                                                                                               , - - · · · - -... 1




 16. OWNER OF POLICY ON A JUVENII.E                                                                      b. ·Powered r~l.:ing or competitive vehicles (including
       a:, Uthe applicant identified in Questions 1·8 gri' page 1 is a iuvenlle,
           complete the owner Information below.
                                                                                                             motorcycl~s. autornopiles and motor boats)?                                  CJ (/!I'
                                                                                                             Type of vehicle: ::...!~•-··_· .,.. Rar.ing classificatlort ............... ,........
       · · Relationship to Proposed Insured (Child                                                           Speeds attained: .................,...••. Maximum ••.                      ...... Average
           If other than parent or grandparent: ei\lfer a parent o; guardian must                            # Races annually: •. ,,.•.-.,. ..... Type ot track:
           sign this application in addition to Jl'l'e Applicant.                           ••           c. Recreational vehicles over open terrain. trails,
                                                                                                             sand, .snow or ice (including snowmobil.,s, dirt
     b. PareJ1ts.. nar:)e·.                ,, ~ · ·               . Insurance in force:                      bikes and dune buggies)?                                                     D ~
               ~~~;;r .._,_._ .;:··.:::. ·-.·•~: .:.,:.:.:= :·                                                                -............ ,
                                                                                                             Type oI vehicle: ···---···•, ........._.,,, Where used? ---'-··
                                                                                                             Freq1m1cy: ... ·                  . Competitive racing? .
     c. State tha total amount o , 1/e in$urance on each brother and sister ol                               If yes, specify engine size _.,.,. :: ............ .
           the child.                                 .
                                                                                                         d. Skin or scuba diving, mountain climbing, rodeos,
           Nari1e - - - - / , _,. .. ···- _ _ Amount                                                                                                                                                pi..
                                                                                                             competitive skiing?                                                          □
           Name ....,. ..•                             -J:. .. ,., .
                                                     --.--~···c . ·· Amo~nt                                  Frequency: .....,..... - - - - . Location/area: ....
           If more space required,_ answer in,AEMA.RKS. ·, . ·                                               DIVING - Typ~ o( equipment: · .........••,.. Frequency _ __
H · -...,..
1\1,A,
                                                           ··---·--··-,·····-··                              Maxir~um and average depths ..
 17. COMPLETE IF APPLYING AS A. NON·SMQKEA                                                               · - - ~ -.., - , . -                          .. ,...-••-·••"--•·--""···•-»'"·
                                                                                                                                               YES NO                    21. OTHER INSURANCE                                                                                        YES                   NO
       a. Has any person to b.e insured smo d cigarettes In the                                                                                                ·         · a. Has any company d'1clined to issue. reinstate, or
       past year?                                                                                                                                □                 t:l          renew, rated, modi/led, postponed or canceled any life
               Name(s)                  '         ---;;:' ... ' . , •• , /· ·-·-·-                                                                                              or health Insurance on' anhierso11 to b.e covernd?                                                     CJ                 J?!I
       b. Is tobacco other than cig                            ttes i;sed by any person to                                                                                   b, Will inswance, including annuities, in any company be
       be covered? . . .                                                                                                                         □· □                           discontinued or changed ii, the insurance applleq for is
                                                                                                                                                                                                                                                                                    ~ )ff hS
          ,.     •         •            ',,   f.. ..

          . •Name( s) .·................, ..,,•••• ~., .....                                                                                                                    iS$Utd? .                         . .            ..
                                                                                                                                                                             c. Is any application for life or health insurance "'1 any
  ________                                                                                                                                                                                                                                                                                  ·
         I      '•'            ''


                                ,,,.,,,,,.   ___
               Type/frequency ...._,,,...-.:..., ····-·'··
                                                       .,,.,                                             ,,,.,._,.,,.,~·---""""                                                 peroon to be covered pending in any other company?
                                                                                                                                                                                                                     ",""'""" ,• ..,.... ,,
                                                                                                                                                                                                                                                                                      □
                                                                                                                                                                                                                                                                                   ''""·
                                                                                                                                                                                                                                                                                                          1i;i
 18. DRIVING RECORD . .          .·  •                                                                                                                                   22. LIFE INSURANCE IN FORCE WITH ALL COMPANIES
     a. What is your driver's license no.                                                                                                                                    Proposed Insured
           State ..... ..t:;,,,A ~ .....    ,. ....... ··     ···                                                                                                           ; ,.. ::.'... ___::...,,;,:;,..:.,,·,       ., ,    ,.L.):...............-,,_,,.,,_~'---r-- .          . ·'". . . . . . .
        ·, Within the past three years, has any person to be wvered been
           convicted or ple~ded gr/illy to:                       YES NO
                                                                                                                                                                            .·-~:x~:~~." :_ . , .i Yt~OB                                                      J ....        Qi:.~~orne
       b. Three or mo1e moving violations and/or accidents?        □ )!(                                                                                                        Other lnsured(s)
      .c. Driving under the lnfluenc,1 of alcohol and/or drugs'? □ ~
           Name ---··············,"···-·•-----·
           Details (give dates, type or violation)
                                                                                                                                                                                     -1z~~·······=t?:·-l:.··-:····                                           + ·- -· ·
                      •~       :••,,,,,.,.--,•m•'"""•-•-

                                                                       ................ ,,,,., ........---····" ,,,............ _,,,,,,.. ____ ,,_,, ........-,,.""


                                                                                             l·S00·890ESE00l-l                                                u~sw                ll860E9l-BBS/W2il :WOUil lSJ 82:Jl:ll 0202 l2                                                                                  qai[
                     l-20 ilO 500 3'~1Ud'
     Case 2:20-cv-01944-TJH-KES Document 1 Filed 02/27/20 Page 28 of 46 Page ID #:28



                                      { f'OLICV l3CHEDUL.E CONTINUED l
POLICY NUMBER:
                                                             i3PECIFIED              EFF'EC'I" IVE           TERMINATION
(rfHE':Ft COVER,<\Glrn:                                         1\MC.lUNT                DATE                    DATE
 1,11!\IiJER OF MONTHLY PH8:M!UM.                                    $:,;8        .JULY :t5, 1.990        JIii~"' Y 1""
                                                                                                         \o '       '··•l   1
                                                                                                                                ,,
                                                                                                                                ;;;J"!'''")
                                                                                                                                    ... ...:..i::..

 C!IILDREN'S RIDER.                                          '.l. 0 UNITB         ,JULY 15, 1990         1JUL Y 1;:I i 2027
 LE'v'EL TERM FOR COVERED INSiURED
        •
  I Al~AND,, D SMALL.                                          $75,000            dLIL Y 1:i, 1~,>9()    ,JULY 15, 20[\6
  AGE AND SEX: 29 FEMALE
  RISK CLASS:             STANDARD




                                                  SURRENDER Cl·IARGEf.,
THE FOLLOJ.IINt:l SURRENDER CHARGES ARE BASED ON THE END Of' "rl-1E: f'OLlCY Yl''.Af<:


            POLICY YEAR                ·AMOUNT                    POLICY VEAR                   AMOUNT
                    1              !f;:t,200,00                               2             $'1,;200.00
                    ~:)            $1 , 20CL 00                               4             $1,200,00
                    ::1            $1. ,200. 00                               6             \lil ,,~00. 00
                    7              $1,200.00                                  8             $1 , :?OO . OCi
                    9                 1600.00                                1.0·r                   $0. 00

THI·. 6Urrnr:::1110ER CHARGE WILL BE lNCREA!':iED DURING THE FIRST lO YE(ARS 13Y
1~,NY EYCESS INT!~REST CREOITED DURIN15 THE 12 MIJNTHG l"flECEIJING THE
:C:iUf{i~END!:R




                                                  :3(\

                          ·:;i




    l-20 ilO 900 3'~1Ud'         l-500-BCJ0ESE00l-l   u~sw     ll860ECJl-885/W2il :WOUil lSJ 2E:2l:ll 0202 l2                            qai[
    Case 2:20-cv-01944-TJH-KES Document 1 Filed 02/27/20 Page 29 of 46 Page ID #:29



                                   POLICY SCHEDULE




NOTE:        THE MATURITY DATE IS THE POLICY ANNIVERSARY FOILOl,UNG THE:
IN!''ilJREDS 95TH I.HRTHDAY.        COVERAGEc MAY E'XPIRE PRIOR TO THE MATIJfUTY
D1\TE IF 1110 PREMIUMS ARE: PAID AFTFR THE INITIAL PREMIUM OR IF
:'!U!Jf'iEG)UENT f'REMIUl'l6 ARE INSUFFICIENT TCJ CONTINUE COVERA<,E TO SUCH
Dt, f"E.     COVEf{AGf:. MAY ALE\I) BE AFFECTED BV A CHANGE IN CUHRf:NT VAU..JES.
        •

MONTHLY EXPENSE CHARGES:
          ~;7. 5Cl PER POLICY PEH !'IONJH, 1\LL POLICY YE:AR!3


PEl'KENT OF PREMIUM EXPEN'3!;. CHAHGE~3 ·
               Ci, 0% OF ALL PREMIUMS


f'Ot.ICY LOAN HATE:
            7 . 4% IN AD\/1,NGE

CON~HSTENT PREMIUM PAYMENT nASfS:
          $456,48




THC GUARANTEED IN"rEREf•T RATE USED IN CAU-::ULATI!IIG THE ACCOUNT VALUE: FOR
THC FIRST~• YEARS IS .4!~676% P!::R MONTH, COMPOUNDED MONTHLY. THIS l:S
E(~IIJ:'v'ALENT TO t. 0% PER YEAR COMPOLINDEO YEARLY. AFTEll 5 VEARf;, THE
GUARANTEED II\ITEHEST RATF.: UFJED f.S, . 327'.:37% PER MONTH, COMPOUNtlf::D
MONTHL.'i. THI\::; H3 EQUIVALENT TO l\ . C~½,' PER YEAR COMPOUNDED YEARLY,




I!\l',UHISCi: CARL L SMALL                            AG!:'. AND SE)<: 28 MALE:
POi..IG'f NlJMflER:                                  CL.ASS: STANDARD
IN;f TIAI,, SPECIFIED AMOUNT: ifi75, 000             POLICY OATE: ,.JULY     :rn,   1990
DEATH fiENEFIT OPTION: OPTION A                      MONTHLY AN!fr\lE:R!:.iARY DAY: i.5
FIW3T PREMIUM: $4{2. 69                  .           l'IATUR!TV DATE: <..JULY 15, 20:::.:r
PL.i\lllNED PEfUOD'!'.C PREMIUM:   $;38, 04          PA'O\BL.E:: MONTHL''f
  m~NE:Fl AND 81:'NEf'ICIARY: ,l\S NAMf;o JN APPLIC.<'l'rION OR AS LATF:'.I~ CIIANGE:D.
  FRi'llif>
. ..l ' '
            .,.D ·
            ~-" ••
                   ,.




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   l-20 ilO l00 3'~Ud'   l-500-890ESE00l-l   u~sw   ll860E9l-BBS/W2il :WOUil lSJ l5:2l:ll 0202 l2   qai[
             Case 2:20-cv-01944-TJH-KES Document 1 Filed 02/27/20 Page 30 of 46 Page ID #:30


COMPLETE Will-! Rl:SPECT TO All PEMONS TO BE COVF~EO. AS SHOWN BELOW
                   -~".....,''""'"""""'   ---""""'""''""'""~""''~""""'""""
1. NAME ANO ADDRESS OF YOUR FAMILY PHYSICIAN                                                                  -~-..,._-.~(~v-;

2, DATE AND REASON FOR LAST VISIT TO \'.OUR P. iYSICIAN

                                                                                                ~~!~-----·-,·~·-·••" .,,,,,,,. , __________.,., ,.. ,_,_
COMPLETE QUESTIONS 3•7 CAREFULLY, GIVE D AILS OF ALL "YES" ANSWERS, INCLUDING NAME OF PERSON AFFECTED, ALL DATES, DIAGNOSES.
OURAllONS, OUTCOME ANO THE NAMES ANO ADDRESSES Of ALL HOSPITALS ANO JlfTENDING PHYSICIANS. If AOOIJIONAL SPACE REQUIRED; IU'TACH SHEET
Of PAPER, SIGNED, DATED AND WITNESSED.

3, IS ANY PER~-~~-;~·;;·~~:EREO PRESENTLY TAKING MEDICATION?
4, WITHIN THE tPAST FIVE YEARS HAS ANY PERSON TO BE COVERED
   a, Consulted, been examined or been treated by any physician or practitioner?
   b. Had an x·ray, aleclroc;1rdiogram or any laboratory lest or study?
   c. Had observation or treatment at a clinic, hospital or sanitarium?
   d, Had or been advised to have a suryical operation?
   e. Had dizziness, shortness of breath, pain or pressure in t~e chest?
   f. Had any injury requiring treatment?
5, TO THE BEST OF YOUR KNOWLEDGE, HAS ANY PERSON TO BE COVERED HAD
    OR BEEN TOLD HE OR $Hf: HAD?
   a. Epilepsy, fainting spells, nervous or mental condition, neuriti3, paralysis, or illlY
       disease or abnormality of the brain or nervous system?
   b. Heart attack, murmur, palpitation, or high blood pressure, anemia, varicose
       veins, or any disoase or abnormality of the heart, blood or blood vessels?
   c, Tuberculosis, asthma, pleurisy, (1r any disease or abnormality ol the lungs,
       bronchial tubes, throat or respiratory system?
   d, Ulcer, indigestion, colitis, gall stone, hernia or any disease or abnormality of the
       stomach, intestines, rectum, gall bladder or liver'/.
   e. Urinary sugar, albumin or stone, syphilis. menstrual disorder. or diseas~. or
       abnormality of the preasts, kidneys, prostate, urinary or genital systems? ,
   I. Di:.bates, gout, or._any disease or abnormality of the thyroid or other glands?
   g. Arthritis, rheum~tlc fever, back trouble, or any disease or abnormality of the
       joints, muscles or bones?            .                    · ·
   h. Any disease or ab.normality of the eyes, ears or skin?
   i. Cancer or tumor?
   j. Any physical deformity or detect?
   k, Any immune deficiency disorders, Acquired Immune Deficiency Syndrome
      (Al()S), or AIDS Related Complex (ARC)?                   . .

6, WITHIN TliE PAST TEN YEARS, HAS ANY PERSON TO BE COVERED REGULA
   a, Amphetamines, barbiturates or sedatives, except as prescribed by a physician?
   b, Cocaine, heroin, morphine, LSD, marijuana, PCP, or any other hallucinogenic or
      narcotic drug?
7. a, Have any close relatives of any person to be covered ever had cancer, diabetes,
      heart'diseaM,pr a nervous or mental. abnormality? .
   b. Has any person to be covered ever received treatment or joined an organization
      for alcoholism or drug addiction?·,                                  ·
   c. Is any_per~on to be covered /tow P"!9.~~!},_t?__..__
REMARKS

                                                                                 ;Ioli!c

HOME OFFICE CHANGES IN THIS APPLICATION
 '•:,~
                                                                             ~./
                                                                                ., ~. ~ C:Jk- ~                     .       ·,
                                                                                                                                   8())b I
                                                                             p#~J i6,~:L<>.-J:.,.)
                                                                             ;'.h,1.._
                                                                                                             L    cl/,¥~ ~"';:
                                                                                         ~ &;,~ [ ~ . / lk;fl!-,-7 ,4_,
                                                                                                                                               II ,.,. ,.
                                                                                                                                               /W '«


            i.20 ilO 800 3'~Ud'                                  l-500-890ESE00i-l       u~sw       ll860E9i.BBS/W2il :WOUil lSJ 2E:El:ll 0202 l2           qai[
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LifeUSA INSURANCE COMPANY                                                                             ANNUAL REPORT TO POLICYHOLDER
BOX 59060                                                                                             ,1uly 16, 1995
MINNEAPOLIS,               MN         55459-0060•                                                     800-950-1962

INSURED: CA.RL L SMALL                                                                                PLANNED PREMIUM: $ · 38.04
POLICY:           .                                                                                   MODE: MON'l'HLY
POLICY DATE: 07··15··90                                                                               CLASS: SMOKEJR
PLAN NAME: SECURI'l'Y PLANNER                                                                         SEX: M ISSUE AGE: 28
REl?OR'.t'ING PERIOD: 07-15-94 '.t'O 07-14.-95
           CARLL           SMALL
                                                                             2



                                                                                        ·--·--·---·----·"-·--··--------------
                                POLICY ACTIVXTY ARD STATUS DETAIL
    ------------------------~-"-,W><•··-..~-'"-"''-~"'""-"''"'''""'"""''"•·. . . . .~.. .,..,. . . .,". . . . . . .,_....,,,4,,
POLICY YR               !?1\1!:MIOM                INTEREST                cos•.r OF              COST 01"                l!:l-1/ENSE    ADJUSTMENTS
~J;!LtJ;l:!I,             .IU\,J;tl                9REDIT!ll0             INSU!'JANC!Jl                   '"              CHARG!l!       jiI'l'HDRAWALS
07-14-95             $456.48                       $28.24                 p46.93                                          $90.00          $0.00

ACCUMULATION VALUE A'r IJIND 01" LAST RlllPORT!NG PERIOD,                                                                                                $                      3'12.53
ACCUMULATION VALUlll AT END OF THIS REPORTING PERIOD•                                                                                                    $                      465.40
!.Ol\N OU'l'S'l'ANDING,                                                                                                                                  $                              o.oo
NE'r CASH SURRENDER Vl\l.Ulll:                                                                                                                           $                              o.oo
THE CURRENT CREDITED INTEREST RATE tS: 6,59% ANO IS NOT SUBJECT TO FEDERAL OR STATE INCOME TAX
!JN~'IL WI'l'HDMWN.

YOUR CURRfJ:N'r COVERAGE WtLl, REMAIN IN FORCE IF NO FU.l\'l'!!ER PREMIUM IS PAID:
1) l\.SSUMING GUARl\.N'rEED INTERlllST l\ND COST OF lNSUMNCll:1 10/15/199$
2) ASSUMING CURRll:NT INTEREST AND COS'! 01!' !llSURANCE:       10/15/1995

                                                         CONSISTENT PREMIUM PA!Ml!lNT BONUS
                                                                                                                                                                                    ____
                                                                                                                                        '""'"'"''"''"""'"""""""'""~"'""''""""'"'"""''




!I.ASEi) ON THE l?lWMENTS YOU l:lJWE MADE •ro DATE, ¥OUR POLICY IS ON SCHEDULE l!'OR PAYMENT OF TllE:
CONSlSTlllN'l' PREMIUM PAYMENT AMOUNT.

The con;sistent Premiu:m Payment P.rovision is an increa.ae to the Accumulation value of 45%
of th,a Cvnsi.,t<1nt l?remi.um Payment Baaia ehown on page 3 of your policy. The incrsase ii\!
appli<ad from the aleventh thro1,9h t.he nimaty~fifth polJ.cy y<aar. Th<> incr0as0 i" applied to the
Accumulation Value in the earn" mann":i, 11u1 a net premi.um.

TO QUALIFY FOR THE OONSISTEtr.11 PREMIUM PAYMl!llr.r BONUSI At the end of each policy year, beginning
w:Lt.h the ela'v,mth, the cqmulatJ.v,i, total to date of any ren,i,wa.t pr<>miurom paid must <;>qual or
"""'""d th .. number of renewal yearlil "inoe i1!u11ue, times the Con,.istent Prem.Lum Payment Baeis on
the policy soF1edule.




lfflll!l.'Ml!:N:r SAFE!P!H. A!,!, UfeUSA ASSETS l\RE IN INVESTMENT-GRADE BONDS OR U.S. GOVERNMENT-
Bl\CKED MORTGAGE-NO JUNK BOND-NO PRIVATE MORTGAGlilS,          I,ifeUSA • S INVESTMENT l?ORTll'OLXO CONT!NUlilS
ro BFi ON>] OB' 'l'Hl!l Mos~· LIQUID AND SECURE IN THE LI!,l'E INSURANCE INDUSTRY.     ALL CLIENT DOLLARS ARE
INVESTED rn ASSETS RATED Ml\/Aaa .Bl' STANDARD AN!) POOR•$ AND/bR MOODY'S.

lGENT1
  •'i,·;,h.
            PAUL W PFEIFFER                                                                                                          OFFICE:                         14464




                l-20 ilO 600 3'~1Ud'             l-500-890ESE00l-l               u~sw             ll860E9l-885/W2il :WOUil lSJ l-2:l-l:ll 0202 l2                                              qai[
                     Case 2:20-cv-01944-TJH-KES Document 1 Filed 02/27/20 Page 32 of 46 Page ID #:32




                                                                                                                                                                                                                               '   .
       I REP,RESEN;that the srnternents and answers given in this Application are true, complete, and correctly recorded lo lhe
       belief.       . .. ··, . ,.\             , ·, .'.   :t ·:t)
                                                          ,. , t-../_.•., . _·\ '.·... ->:·.·:.\:·~....
                                                                              ..._.. . :.::.<:: ..      . ,·:. _· , , \ . 1 • ·\        <.i .,,. l. :'.:'_...t·~.,. (.{X)                                                    'i:,P.: ,
                                                                                                                                                                                                                                       -
       I AGREE that (1 j This Application shall consist of P1frfl and_ Pari"'II (if applicable) and sliall be 'the basis for any policy issued on this Application'; (2)
       Excep! ;is otherwise provided in the conditional receipt, if i_ssued, any ROI icy issued on this Application shall not take effect unless all of 1118 following '
       conditions are met: (a) The first full premium Is paid, (bl The policy is delivered to the owner during the lil<ltime of the persor,(s) to be covered by such
       policy, and (G) All of tho statements and 3r,swers given in this Application to the best of my (our) knowledg,i and belief continue to be true and complete as
       of the date of delive,-y of the policy; (3) No, agent or medical examiner moy waive or alter a provision of any policy, and no waiver 01 modilleation of any
       pol',cy issuod on this Application shall be binding upon the Company unless in writing and signed by the President or a Vice President and the Secretary or
       an A,sistant Secretary; (4) The Company may Indicate changes In the space for Home Office Changes in the Application for administrative purposes only,
       Any other changes in this Application shall be subject to written consent by the owner,

       I AUTHORIZE any physician, medical practitioner, hospital, clinic, medically related facility, insurance company, the Medical Information Bureau (MI8)
        or rllher organization, institution or person that has any information in its records on ri,e or my children to give the Company, its legal representatives, and
       its reinsurers, any such information to u,le for underwriting Insurance and for deterrnining r1ligibility for benefits, The Company may release information
       obt~inod to MIS, reinsunng companies, other per~ons or organizations periorming business or legal services in con11e.c11on with my application or claim,
       'l'he c1)mpany may release information as required by law; or as I may autl1orize,                                               -

        I UNDERSTANO AND AGREE to the following: (a) This authorization Is valid lor two and one•half years from this application date; (bl a photocopy is as
        valid as the original: and (c) a copy ls available 10 the Person to be Insured on request,

        t ACKNOWLEOGE roce_ipt of the Noti,Ce of Insurance lnfonnatlon Practices, Will lrisurance, including annuities in any other company bo discontinued or
        changed If the i11sura11Ge applied for IS issued? ,               ,                                                                         ,

   -~ YES,- ,               □ NO                   _ ~arne of:c6mpaHy re?laced:                                    t}_!nf[(:t!,(: , , 1(,4t_~l')f!,,~                         Policy             H
        '"""" J,b.,.,,f,fj" ,,~~~ ~                                                                                                               ~I ' / : ~ LJl.,, 71-~
~~    ~: an~fei~~~y                                                        ~ A~:~'i1111olved? $                       YES          □       NO   ~-·                           Proposed'i~d's$1gna
     --          ~                                                            - ~ • -n•




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             .·1 ,he    #4.          Mi.nneapolis, Minnesota 55419-0060
                                     612•546.. 7386




          September I, 1992
              ►




          Dear LifeUSA Policy Owner:

          The EXCELERATED DEATH BENEFIT is a 'new special policy feature which is now
          automatically available on your LifoUSA policy at no additional charge.

          The EXCELERATED DEATH BENEFIT provides immediate access to policy bcm,fits if the
          primary insured is diagnosed with a terminal illness and has a life expectancy of 12 months or
          less. In this event, you may elect to receive up to SO% of the policy face amount to a maximum
          of $125,000, You use the money as you see fit ,,__ there are no ;restrictions.

          Eligiblity for the EXCELERATED DEATH BENEFIT is effective two years from the date of
          this letter, September I, 1994.

          If you need further information about the EXCELERATED DEATH BENEFIT               or if you
          have need in the future to file a claim•-- contact LifeUSA's Claims and Disbursements
          Department at 800-950-1962.

          Please keep this letter with your LifoUSA policy as a reminder of this valuable benefit.

          Sincerely,


          ~),~
           Donald J. Urban
          President
          , LifeUSA Insuranco:iC()mpany
                  ,(',~




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                                       ljfcUSA" Insurance Corn.pany
                                                    INSURANCE ON CHILDREN
                                                            RIDER

 The Company has Issued this rider as a part of the policy to        policy will provide the amount of insurance forthi.s rider or,
 which it is attached.                                               i;,aoh child to that child's 25th birthday. The child will be the
 If a child dies before becoming 25 years old and before the         owner of each such policy.
 policy anniversary following the lnsured's age 65, we will          Conversion -    Insurance which terminates, except tor
 pay the amount of Insurance shown for this rider In the             nonpaxment of premiums, under the provisions ot this
 Polley Schedule subject to the provisions of this rider.            rider may be converted to any plan of Insurance as follows:
 Payment of Proceeds - Any proceeds payable under this
 rider because of the death of a child will be paid to the           1. Insurance on a child may be converted, without pro-
 Insured when we receive due proof of the death. However,               viding evidence ol lnsurability, to a new policy up to five
 upon request of the owner, the proceeds will be paid to a              timl!ls greater than the amount of Insurance provided on
 beneficiary other than the Insured, but only If:                       that child under this rider or $50,000, whichever is less,
                                                                        on the following dates:
 1. the beneficiary change Is made In accordancs with the
    How to Change      a Beneficiary provision     of the policy:      a. on that child's 25tl\ blrtr1day, or
    and                                                                b. the policy anniversary following the lnsured's age 65,
                                                                          whichever comes firs~ or
 2, beneficiary change specifically states that it Is applicable       c. within 90 days after the child marries or receives a
    to Insurance provided on a child under this rider.                    Baccalaureate degree or higher degree from a fully
 Any monthly income payable because of the death of the                   accredited college or univarSity, prior to the child's
 Insured will be paid under a supplementary conuact                       25th birthday and prior· lo the policy anniversary
 Issued In exchange ror this rider atthe death of the Insured.            neare$t age 65 of the Insured.
 In the absence of a spadfied beneficiary designation, such          2. Insurance on II child may be converted at any other time
 monthly income will be paid as It becomes due In equal                 prior to the child's 25th birthday and prior to the policy
 shares to the then surviving children of. the Insured                  anniversary nearest age 65 of the Insured. The face
 Including any children of the Insured who were not insured             :,mount of the new polloy may not bl) grealer t'1an th<J
 under this rider. Any payment due a minor will be paid lo              amount of insurance provided on that child under this
 tt1e legally appointed guardian of the minor. If there Is no           rider.
 such guardian, we will pay the adult who has, In our
 opinion, assumed the custody and principal support of               3. Written request for conversion of any terminating
 such minor, After becoming 21 years old, any child entitled            inswance and payment of the required premium must
 to receive a shme of the monthly Income rnay elect to                  be made lo us before, or within 31 days after, the date
 receive the commuted value of that share of such monthly               allowed for conversion. The terminating Insurance will
 lntx1me in ont, sum or apply the procesds under one of the             not be in force during the 31.day period following tlw
 Settlement Provisions of the policy.                                   date allowed for conversion.
 Dellnitione -- In this rld0r: ·
                                                                     4. The face amount of each new policy may riot be le$s
    "Insured" means the Insured under the policy to which               than om published minimum for the plan selected nor
    this rider Is attach,,d.                                            greater than five times the amount of Insurance of this
    "Child'' fl'\eans (1) any child named in the application for        rider. At least one plan will be available for conversion of
    this rider who was born to .the Insured, or Is a stepchild          $1,000 of Insurance.
    or legally lj,dopted child of the Insured, and who Is at
    least 15 days old or becomes 15 days old, and wt,o is            5. Each new policy will be eHec!lv1l on the date of
    not yet ·19 years old on the date of the application, and          conversion. The child will be the owner of the new
    (2) any 9hil(l born to t~e IMured, stepchild or legally            policy.
    adopted child of !hJI lnfured, after the date of applica-
    tion for thl$-fid~r. w4'lo Is at least ·15 days old or becomes   6. The premium for each new policy will be al our
    16 days old, and-who Is. not yet 19 years of age.                  published rate for the plan selected at the time of
                                                                       conversion. We WIii use the age of the child Insured on
    "Unit" means an increment ol $1.000 of death benefit               ll1e date of conversion to determine thi$ rate.
    per child.
                                                                     7. The date of Issue of all new))elioles issued under the
 Pald•up Term Life Insurance -        ti the Insured dies while         Conversion provision will be the date ot issue of thi!l
''1his rider is In force, this rider automatically will be              rider. The Incontestability and Suicide periods in the
   ct,anged to nonparticipating paid-up term life insurance. A
                                                                        new policies will continue from such dale$ of issue and
 f>R1005
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will not start anew In the new policies.                           suicide to this rider, the "date of issue" will be the dale this "
                                                                   rider la signed by us. The provisions of the policy rslatlng to
Automatic Termination - This rider will automatloally              suicide will apply to the death by suicide of the Insured or a
terminate;                                                         child. If the Insured dies by suicide and our llablllty Is limited
1. II any premium remains unpaid after the grace period;           to the amount of the premiums paid, no Insurance will be
2. I! the policy is surrendered;                                   provided under the paid-up term Ille Insurance provision•of
3. if the policy terminates;                                       this rider. lnatead, in$uranoe on each child may be converted
4. on the policy anniversary following the lnsured's age65; or     to any plan of Insurance then offered by us. Such conversion
5. at the death of the ln$ured subject to the provisions for       will be subject to the conversion provisions of this rider.
   paid-up l/,lrm life insurance,
                                                                   Cancellation - Upon written request by the owner of the
Insurance on a child under this rider will automatically           policy, this rider may be cancelled on any monthly
terminate on such child's 25th birthday or when such child         anniversary day.
converts all or part of $UCh ir111urance.
                                                                   No Olvldend11 Are Payable - This rider does not
Reinstatement - In addition to the provisions of the policy        participate In our profits or surplus.
relating to reinstatement, this rider may be reinstated only
                                                                   Conslderallon - We r1ave Issued this rider in considera•
If each child continues to be Insurable by our atandards.
                                                                   lion of the application and payment of the premiums. A
lncontestabllily - In applying the provisions of the policy        copy of the application Is at!llchi;,d tC> the policy. The
relating to lncoritestabllity to this rider; the "date of issue"   premium for this rider is payable as provided In the policy,
will be the date this rider is signed by us. Any paid-rip term     except that such premium will no longer' be payable when
life irisurance Issued under this rider will be incontestable      this rider terminates.
from its date of Issue.
                                                                   Rider Date - The rider date of this rider will be the date
Suicide - In applying the provision of the policy relating to      shown on the Polley Schedule,




Signed for the Company at Minneapolis, Minnesota and effec:llve on the date the policy Is Issued unless a different effective
date is shown here.




    ~ erupt.. td1 @Cl,, 0~.                                                 J)a-:Jy~
   0                   Secretary                                                                President




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                             "1,"
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                                                            01
                                        l.,iteUSA InsuranceCompany
                                          WAIVER OF PLANNED PERIODIC PREMIUM
                                                         RIDER

The Company has issued this rider as a part of the policy to          3. war, declared or undeclared, or any act of war.
which it is attached.
                                                                      Automatic Termination -        Thi$ rider will automatloally
Waiver Benefit -      We will waive each planned periodic             terminate:
premium due Immediately on or alter age 10 of the Insured             1. If the policy ill surrendered;
during the lnsured's total disability. Such waiver will be            2. if th!il policy lapses, or
limited to the average planned periodic premium paid                  3, at the policy anniversary following the lnsured's age 60,
during the pu'lst three years. If the policy has been In lorcll          subject to any claims under this rider.
less than three years, waiver will be limited to the average
                                                                      Notice and Proof ol Disability - Written notice of such
planned premium payments made from the policy date,
                                                                      disability mu$! be given to us et our Home Office while the
Th!l waiver IS subject to the provisions of thla rider.
                                                                      Insured is living and while such dlaablllty continues,
Any planned periodic premium waived under this rider will .           Failure to give such notice will not Invalidate any claim if
be credited to the Accumulation Value of this policy. We ·            such notice was given as soon as was reasonably
will credit the Accumulation Value as of the date of notice           po$sible, Oue proof of such dl$1i1blllty must be given lo us at
of claim or the date at !he end of the first six months of            our Home Office. Although proof of such disablllty may
disability, whichever Is later.                                       have been accepted by us as satisfactory, the Insured will
                                                                      at any time, when we request it, furnish due proof of the
Total Dlsablllly - Disability will be total when the Insured
                                                                      oontlnuimce of s1Jch disability. At our option, suoh proof
becomes so disabled by injury or dlaease, which first
                                                                      may include an examination of the Insured by a medical
appears after the date this rider la signed by us, aa to be
                                                                      examinerchoHn by us, Such proolwlll not be required by
unable to perform any of the material duties of any gainful
                                                                      us more than once each year alter auch disability has
work for which the Insured Is, or become1;1, fitted by reason
                                                                      continued for two full years,
of education, training or experience, Total disability is
called "such dlsablllty" In this rider.    ·                          Aeoovery from Dleablllty - The benefits provided by this
                                                                      rider will end: ('1) If the Insured falls to give us any due proof
The beginning of such disability will be the begiMing of
tho disability which totally disables the Insured for not lees
                                                                      <'.lr refuses to submit to the requested examination: or (2) if
                                                                      the Insured Is no long,., totally dlsablE1d.
than six months, In no event will such disability be
considered to have begun more than one year before the                Cancallallon - Upon written reque,t by the owner, this
date due proof of such disability Is received by U$.                  rider may be cancelled on any monthly anniversary day.
Age Limitation, - No waiver will be allowed under this                No Dividend• IIINI P111yable- This rider does not participate
rider during any period of disability before the lnsured's            In our profit$ or $urplus.
10th birthday. II such disability continues beyond the 10th
                                                                     • Conalderatlori ,_ We have Issued this rider In consldera•
birthday, we will waive each such deduction du& after that
                                                                      tlon of the application and payment of the Initial premium
birthday and during auch disability. No waiver will be
allowed under this rider 'if such dlaabillty begins after             shown in the Polley Schedule. A copy of the applloatlon Is
                                                                      attached to the policy. The rate for !hi$ rider is shown In the
policy anniversary nearest age 60 of the Insured.
                                                                      Policy Schedule and 1, payable as provided In the policy
Exclusion from Coverage -         No benefl!s will be allowed         except that when this rider terminates such rate will no
under thisri.der If such disability result$ directly or Indirectly    longer be payable. The monthly deduction for this rider will
from:        '                                                        be determined by the same method used to determine the
1. intentionally self-inflicted tnjury;                               monthly deduction for' the policy to which thi$ rider is
2. pa11ic1palldi\ In insurrection; or                                 attached.

                             ~

 Signed for the Compapy a!Minneapolls, Minnesota and effective on the date the policy la iHued unle11s a different effective
_.<:lij\8 is shown,her,,e. ~




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    0 .                  Se(,rotaiy                                                                 President

PAH)Ot
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           Who Receives the Death B1,1nelll -
                                               "'''"''"""'""""'""'"'              ___                  THE BENEFICIARY
                                                                                           We will pay the Death
                                                                                                                               ""'"~-·-··--·"""''"'"'"'""''"'""''

                                                                                                                              named beneficlarle$ l1as ended when the Insured dies, we
           Banefit to the Beneficiary when the Insured dies, The                                                              will pay the Death Benefit to you, If you are not living at that '
           Beneficiary is the person or entity named in the application                                                       time, we will pay the Death Beneflt"lo Iha ex<;>cutor or
           unless changed,                                                                                                    administrator of your estate,

           Protection of the Death Benefit - To the extent p'ilrmitted                                                        How lo Change II B11n11flcl11ry - You may change the
           by law, the Death Benefit will not be subject to the claims of                                                     named Beneficiary by sending a Mtisfactory written 11otice
           the Beneficiary's creditors,                                                                                       to us, The change will not be effective until we record it at
                                                                                                                              our Horne Office, Even If the Insured Is not living when we
           II the Beneficiary Dies - If anv Beneficiary dies before the                                                       record ~he change, the change will take effect as of the
           Insured. that Ber1efici11ry's interest in the Death Benefit will                                                   date signed, Any benefits we pay before we record the
           end, If any Beneficiary dies at the same time as the Insured,                                                      change will not be affected, An Irrevocable Beneficiary
           or within 30 days after the lns1m1d, that Beneficiary's                                                            must give written consent before we will change that
           interegt it1 the Death Benefit will end, If the Interest of all                                                    Beneficiary.


                                                                           ____,___" , , - , - - + - - - - - - - - - - - - - - -
                                                                                             PAYMENT OF THE DEATH BENEFIT
           Proof of Death - We will pay any benefit payable at death                                                          the Date of the lnsured's death,
           when we receive due proof of the lnsured's death. We will
                                                                                                                               Opthm B: The Death Benefit will be the greater of the
           send appropriate forms to the Beneficiary upon request
                                                                                                                              specified amount shown on the Polley Schedule plus the
           Any of our agents will help the Beneficiary fill out the forms
                                                                                                                              Accumulation Value as of the date of the lnaured's death or
           without charge, We will send all payments from our Home
                                                                                                                              the Death Benefit Factor times the Accumulation Vah,,e as
           Office.
                                                                                                                              of the date of the lnsured's death,
           Death 8enelll - The Cleath Benefit may be af/echid by the
                                                                                                                               In no event will the Death Benefit.be less than the amount
           Policy Loan or Misstatement of Age or Sex provisions,
                                                                                                                               needed to continue to qualify the poiicy as a life insurance
           Death Benefit Option - The Death Benefit is based on                                                                contract under Section 7702 of the Internal Revenue Code,
           your choice of Option A or Option Bas shown in the Policy                                                           Future amendments may be necessary tor continued
           Schedule,                                                                                                           compliance, We will notify you of any amendment
           Option A: The Death Benefit will be the greater of the                                                             We will reduce the Death Benefit by any Policy Loans and
           specified amount shown on the Polley Schedule or the                                                               by the grace period premium necessary to provide in•
           Death Benefit Factor times the Accumulation Value,a$ or                                                            surance to the date of the Insured'$ death.

                                 "'""'""''"""''"''""'""''"''"''"''"'"""-""""'"'                                                                    ....... w. .... ,.,..,_,,,,,,,,,,,,,,,,,,,,,,'


                                                                                                  DEATH BENEF1T FACTORS
                       - - - - - - - - - - - - - - -... .M. • .,.,."""-.... ,,,,,,,,. .. ,.,,,.~,,.,,. .. ,,,,, . . . ,,,,,,,,,,.,_,.,,,,."'"""""",.. _ _ _ _ _ _ _ _ __
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                    Attained Age                                       8en@fit Fae.tor              Attained Age                aenetU Fae~or                                             Atllllned Age               B@n~flt factor
                    """"'·'"",.,..,.. ,~,, ....,,,,
                   40 and below                                                   250                    60                              1.~~o                                                      80                    'l,05
                               41                                                 2A3                    61                              'L28                                                       81                    1,0C)
                             , 42                                                 2,:;a                  62                              1,26                                                       82                    1,()5
                             ,43                                                  2,29                   63                              1.24                                                       83                     LOS
                             . 44                                           "2.22                        64                              1.22                                                       84                     LOS
                               4'5                                                2.'15                  65                              1.20                                                       85                    1.06
                               46                                                 2,09                   ee                              U9                                                         86                    1.05
                               4'r
                                                                    ~-.           2,03                   67                              1.18                                                       !17                   1 ()5
                               48                                  ,.ii•
                                                                                  1,1)7                  68                              1.'1"/                                                     88                    1.m~
                               49                                                 1,91                   69                              1.16                                                       89                    1.05
                               5~                                                 1,85                   70                              1.15                                                       90                    1,()5
                               51                                                 1.78                   71                              1.13                                                       91                    1.04
                               52                                                 'L7f                   72                              1,11                                                       92                    1.03
                               5:;                                                1,64                   '/3                             1.09                                                       93                    1,02
                               54                                                 "1.57                  74                              1,07                                                       94                    1.01
                               55                                                 1,50                  7$                               -1.05
  ·•,~:,                       50                                                 1.46                  70                              1,05
                               57                                                 L42                   77                              L05
                               68                                                 1,3$                  78                              ·1.05
                               69                                                 L34                   79                              1.05
r~·1·1 oo                                                                                                           4CA
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                                                                  PREMIUMS
                               ,,----··------                             ----'*"               ,,.,.,.,,,.,..,....~,...,....,..·------~


          Subject to the Premium L.lrnltation prov1$lon and the                  number of elapsed policy months reduced by the
          following conditions, we will accept any payment you send              surrender charge and any o,utstandlng policy loan.
          to ua while this policy Is in force.                              We will notify you before the 61 days have passed that the
            i. You may pay the first premium to our authorized              grace period has begun. You must then pay a premium
               representative. You may send subsequent premiums             large enough to keep the policy In forcm. If you do no1 pay
               to our Home Office or you may pay them to en agent or        enough premium, your policy will lap$e,            '
               cashier we authorize. We will give you a receipt If you
                                                                            We will subtract the premium necessary to provide cover--
               ask for one.
                                                                            age to the date of death if tho Insured dies during the grace
            2. Yqµ may pay premi,1ms al any time, but only if each          period.
               premium Is at least $25. Premiums paid by payroll
                                                                            Reinstatement of L.apeed Policy - Unless this policy was
                   deduction are excepted.                                  surrendered, it may be reinstated after lapse. To reinstate
            3. To qualify for the Consistent Premium Payment Pro-           the policy, you must meet the following conditions.
               vision, you must submit the Consistent Premium
                                                                             1, You must request reinstatement in writing within thrno
               Payment Basis stated in the Policy Schedule, You must
                                                                                years from the date of lapse and before the lnsured's
               abide strictly by the conditions In the Con$l$lent
                                                                                age 95,      ·
               Premium Payment Provision section.
           Premium Limitation -    Any premium received during a             2. The Insured muet still be insurable by our standards,
           policy year which is more than three times the greater of         3. If any loans existed when the policy lapsed, you must
           the Consl$tent Premium Payment Basis or three times the              repay or reinstate them with Interest at the reinstate•
           total of the monthly deductions lor the last year may be             ment interest rate shown in the Policy Schedule,
           refunded, We may also relund any unacheduled premiums
           that exceed $25,000 In any twelve month period.                    4, You must pay a premium large enough to cover the two
                                                                                 monthly deductions due when the policy lapsed and
           We will not refund any amount if doing so would cause                 three monthly dedu.<;llons due when the policy Is
           your policy to lap$0 before the n·axt monthly anniversary             reinstated,             ·
           day.
                                                                            The Accumulation Value of the reinstated policy will be
           We will apply any refund first toward reduction of any           any loan repaid, plus 100% of any premium you pay at
           outstanding loan.                                                reinstatement, minus the monthly deductions due at the
           We will remove the excess premium 111 the end of any             time of lapse,
           policy year if the premiums paid exceed the amount               Consistent Premium Payment Provision - i'he Consistent
           allowable for the Death Benefit to qualify for federal           Premium Provision la an Increase to the Accumulation
           Income tax exclusion. Interest will be paid on the amount        Value of 45% of the Consl$lent Preml(Jm Payment Ba$is, It
           removed to the end of that policy year. We will refund this      is our intent to credit the Accumulation Value with this
           excess amount (including interest) within !l0 days after the     inorease on each policy anniversary beginning with the
           end of that policy yea,:                                         eleventh. Howevm crediting of $uch An amount is not
           Coritlnuallon of Insurance - Subject to the Grace Period         guaranteed.
           provision, your policy will continue between premium              lfthe Company does credit such Increases, your Accumu-
           payment$ at thi, same face amount plus additional benefits
                                                                             lation Value will be increased if the following condition Is
           provided by Rider, Reier to the Monthly Deduction section
                                                                             met.
           for ft\rther explanation.
                                                                              1, At the end of each of the policy years beginning with
           'GracecPerlod - A grace period is a period of 61 days after           the eleventh, I.he cumulative total to date of any
            which either of the roll?,wlng has occurred:
                                                                                 renewal premiums paid m1JSI equal or exceed the
             1, The Accumula;j)on ValcJe minus any loan is less than             number of renewal years since Issue times the
               · the monthly deduction due.                                      Consistent Premium Payment Basis on the Policy
                                                                                 Schedule.
             2. Ona 11\lonl'hly anniversary date, the sum of the premium
                paid    to
                        date is. le$$ than one-twelfth of the Planned        Tt1ese inoreasea will terminate either at our option or when
                Periodic Premium ~n an annual basis times the                the policy terminates. Any increases previously credited
                                                                             will not be affected by such termination.

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                                                                POLICY CHANGES

   Ch11ngee In Specified Amount - Subject to the following                              No increase Is allowed unless the net cash value is
   conditions, you may request a change in the lnsured's                                sufficient to cover the next monthly deduction.
   specified amount after the first policy anniversary.
                                                                                   Change In Death Benefit Option -       You may request a
            1. Specified Amount Decreases                                          change in the death benefit option In effect after the first
                                                                                   policy annlver·sary. The request must be In a written toril'I
              Any decrease will become effective on the monthly                    acceptable to us. Subject to the following, the effective
              anniv1,rsary day that falls on or next follows receipt of            date of the change will be the monthly anniversary day that
              r,Jqoast. Any ~uch decrease will reduce insurance in                 falls on or next follows the date we receive your request.
              the following order:
             (a) insurance provided by the most recent increase;                   • 1, If the chango Is from Option A to Option B, the 1n1iurod's
             (b) the next most recent Increases succ1~sslvely; 1rnd                     death benefit after such change shall be actual to the
             (c) insurance provided under the original application.                     lnsured's death benefit before s1,ch change less the
                                                                                        account value on the date of change.
            2, Specified Amount lncrea$es
              Any request for an increase must be applied for on a
                                                                                                                    a
                                                                                    2, If the change i$ from Option to Option A, the lnsured's
                                                                                       death benefit after suph change shall be equal to the
              supplem,Jntal application. Such increase shall be
                                                                                       lnsured's death benefit before $uch change.
              subject to evidence of insurablllty satisfactory to us.




                                            GUARANTEED VALUES
                                                                                        ___
     - - - - - - - - - - - . , , ... , ....""·--···......, ..,_. _,,_....,................ ......
                                                                                              ,




    Accomulallon Value. - The Accumulation Value on any                            M,/mlhly Deduction Rates-We will determine the monthly
    specified date Is equ,,1 to:                                                   deduction rate for each policy year at the beginning of that
                                                                                   yo~r. We will use the lnsured's age as of tt1at policy year:
                  1. The Accumulation Value on the last monthly
                     anniversary day plus accrued inten,1$t from that              A Table of Guaranteed Maximum Monthly Mortality Cost
                     date to the spt!clflad date,                                  Charge$ Is shown on page 11. We may use rates lowerthan
                                                                                   these monthly deduction rates. We will never use higher
             plus 2. All net premiums paid plus accrued intere$t
                                                                                    rates.
                     from the data ot receipt to the specified date
                     less any refunds since the last monthly anniver>,             .A rnduction in th0 guarantee<! monthly deduction rate for
                     sar-y day. ·                                                   this policy will also apply to all other polloies lasued on the
        minus 3. Any partial surrenders sinoe the last monthly                      same plan and to the same class of Insured, The reduced
                                                                                    rate will not be affected by any change in the lnsured's
                 anniversary day.
                                                                                    health or occupation.
      lnlereal F,lates - The guaranteed minimum inlerest rate is
      6% for the·flrst 5 policy years, and 4% thereafter.                          Monthly Deduction - We will take the monthly deduction
                                                                                   for the prior month from the Accumulation Value at the end
     We may declare a higher interest rate than the guaranteed                     of each policy month.
     minimum rafe 11,t any time. We may change this higher rate
     at 01,Jr option. We will never declare a rate lower than. the                 The Monthly Deduction is equal to
     guaranteed minimum inter1;1st ri!te.                                               (a) the monthly deduction rate times the difference
                                 ,~.                                                        between the O,Jat11 Benefit and the Accumulation
     We will pay'interest on any,J)1ir! of the Accumulation Value                           Value at the beginning of the month,
    securing a Po. llc::y Loar~ The excess rate rr\ay be lowertl1an
                                 0                                                 plus (b) the monthly deduction for "ny Riders,
    \he rate credit!ld t,;!. the tinborrowed portion ofthe Account
                                                                                   plus (c) the monthly expense charge ,H sl1own in the
    Value.
                                                                                            Polley Schedule.




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                                       Minnesota 55459-00<iO
                                                                             lhn,d J. Ro,,irhe, CL\!
                                                                             P
                                612--,546-7386   FAX (612) 546--1127




                                                    WELCOME TO LlfeUSA
                             America~ Premier Producer -Owned life Jnsw-ance Company
            •

                   All of us at LlfeUSA appreciate your business and are happy to have you as a
                   policyholder. Our goal is to provide you with outstandin.g policy benefits and
                   service. You are the owner of a mode.rn, flexible premium ~olicy which
                   provides adjustable life insurance coverage. This means that your policy can
                   be changed or adjusted as your insurance or savings needs change.

                   A special feature of your policy is the innovative consistent Premium Bonus.
                   This benefit is designed to reward long tenn policyholders by crediting bonus
                   cash accumulations to your policy beginning .In the 11th year if all renewal
                   planned periodic premiums have been paid.

                   LifeUSA is a unique life insurance company in that the agent who sold you
                   the policy and the people in our office who provide you with service, are part
                   owners of the company. A, direct shareholders in Life USA, your professional
                   agent and our experienced Horne Office staff are joined together and
                   motivated to provide you with the best products and service available today!

                    'I11ank you for the confidence you have shown in Li.feUSA. We look forward
                    to serving you in the years ahead ... If y~u have any questions about your new
                  - policy or have any requests for service, please contact your agent or call
                    LifeUSA's toll-free n·umber 1·800-950.1962.

                   Sincerely,

                   LifeUSA INSURANCE COMPANY


                 Y~9~       ~


                   Dafl:iel J, Rourke, C'.LU
                   President



,,,;,   N21008 CA
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 ,.......--,~·······------
                                                BASIS OF COMPUTATION

The Cash Values of the policy will not be less than the                Ordinary Smoker/Nonsmoker Ultimate Mortality Tabl~,s·
minimum vi,luea required by the State where tho policy Is              for males and females, age last blrth,Jay and 6% interest
delivered. The guar·11r1teed monthly deduction rates and               Death Is assurned to occur at the end of the policy year.
the guaranteed Interest rate are the basis for tile Cash
                                                                       We have filed the method we used to compute minimum
Values,
                                                                       Cash Values and nonforlelture benefits with the Super"
Calculation of minimum cash Values and nontorlelture                   visory Official of the State of policy delivery
benefits is based on the Commissioners 1980 Standard


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                                              SETTLEMENT PROVISIONS                   ,_ _ _ _ _ _ _ _ _ _ _ _ _ _ ,,,,,,,_,,, • .,,.,,,,,m,.,•,.•• .... •.. ,,,,,,,,,.,..,,.,.., •.,,




When the Insured dies, we will pay the death benefit in a              at any time.
lurnp sum unless you or the beneficiary choose a settle"
mant option, You may chooso a settlement option while the              OPTION o: Installments of a Selected Amount - We will
lni;ured is living, The beneficiary may choose a sel1lement            pay Installments of a selected amount until wr, have paid
optl,,n alter tt·,e lr,1$\Hed has died,                                the entiro benefit and .iocumulated interest

You may also choose one of these options as a method of                OPTION E: Annuity - We will use the benefit as a single
receiving the surrender or rnaturity proceeds if any are               premium to buy an annuity, The annuity may be payatlle to
available under this policy. If the beneficiary is n,ot an             one or two payees. It rnay be payable as req1;est(ld tor life
individual, Home Office approval Is required.                          with or without a guaranteed period, The annuity payment
                                                                       will not be less than our current annuity C(>ntracts are tlwn
When we receive a satisfactory written request, we will               ,paying,
apply the benefit according to on,; of these options;
                                                                       The payee may arrange any other method of settlement as
OPTION A: Installment, for a Guaranteed Period - We
                                                                       long as we agree to it The payee mu$! be an Individual
will pay equal installments for a guaranteed period of one
                                                                       receiving payment in his or her own right There must be at
to thirty years, Each installment will consist of part benefit
                                                                       least $1,000 iivailable for an option Md each Installment to
and port interest. We will pay the installments as requested
either monthly, quarterly, semi "'annually or annually, See
                                                                       e;,wh payee must be at least $25, If the benefit is n<.lt
                                                                       eno11gh to meet U·1ese requirements, we will pay the benefit
Table A
                                                                       In a lump sum,
OPTION 8: l11stallment11 for Life with II Guaranteed Period
- We will pay equal moMhly ln$lallments as long as the                We will pay the first Installment under any option es of the
payee is living, but we will "not make payments for less than         date of death, maturity, or surrender, Any unpaid balance
the guarantoed period the payee chooses. The guaranteed               wii hold under Options A, B ,.lr D will earn interest ;at the
period may be either ten or twenty years, We will pay the             rate we are paying at the time of the settlement We will not
lnstalln1e,nts monthly. See Table 8,                                  pay less than 4% an,·11,1s111r11orest
          '"
OPTION Ci: Benelll Depo81ted with Interest -           We will          If the payee does not live to receive all guaranteed
hold the benefit on deposit'. It will earn interest at such           · payrn(,ln!$ under Options A, 8, D or E or any amount
Interest rate1fas we declare, but not less than 4% annually,            deposited under Option C, plus any accumulated intef'est,
We will pay ·the earned interest as reque$ted !lither•                  we will pay the remaining beneril to the payee's estate. The
monthly, quarterly, semi-,tnnually or anminlly, The payee               payee ,·nay name and change a successor payee for any
may wlthdrnw part or· all <ii,/ the benefit and earned interest         amount we would otherwise pay the payee's estate,




                                                                  a
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__ __   ,             .....,,..,.._,,.,

                  Gu.arantee
                                                                       TABLE A
                                                  INSTALLMENTS FOR EACH $1000 PAYABLE UNDER OPTION A
                                                                 """'"''
                                                                   M<>nlhly
                                                                                                            "'~""""""'"'"'"'""
                                                                                                          Guarant(tll':!
                                                                                                                                                      '"""~'""""''"'"'''
                                                                                                                                                    Monthly
                                                                                                                                                                                                                    """"""""""""'"''~
                                                                                                                                                                                                                   Gh.1~r.ontee
                                                                                                                                                                                                                                                                                    ~ "''''""""'"'"'''"''"'""
                                                                                                                                                                                                                                                                                   Monthly
                                                                                                                                                                                                                                                                                                                  '               '*-~',"

                      P.-rlod                                   tnatallm111nte                              P•rlod                                ln1tatlmentt                                                           flletlod                                               lntlMllllW!rtUil
                                                                                                                                 """""'""'"'"'"'"""
                             1                                      $84.84                                      11                                        9.31                                                                 21                                                      5.81
                             ;l                                      43.25                                      12                                        8.69                                                                 2~                                                     5,64
                             3                                         29.40                                    13                                        8,'17                                                                23                                                     5.49
                             4                                         22.47                                    '14                                       1,72                                                                 24                                               ,, · 5,;15
                             5                                         '18.32                                   15                                        7,34                                                                 25                                                  ;., 5.22
                             6                                             '15.56                               16                                        7.00                                                                 26                         , ,·~                       5.10
                             i                                                                                  17                                        6,7"1                                                                27
                             8
                             9
                                                                           13,59
                                                                           12.12
                                                                           10.97
                                                                                                                18
                                                                                                                19
                                                                                                                                                          6,44
                                                                                                                                                          6'.21
                                                                                                                                                                                                                               28
                                                                                                                                                                                                                               29
                                                                                                                                                                                                                                                           '                          5.00
                                                                                                                                                                                                                                                                                      4,90
                                                                                                                                                                                                                                                                                      4.8()
                           10                                              10.06                                20                                        6,00                                                                 30                                                     4.7·!
                        .....,---··- ···-·~-· ·-·....-•.'"·"'                                                                                                       ·""                                                                            ___,.,~,.--,,..,,,,,,,='"-''·'·'"·"""'""' ,.....
Multiply Monthly Installment by 11.78696 for Annual, by 5.95127 for Semi.Annual, or by 2.99022 tor Quarterly Installments.
                                                                                        ---@"'"                                                                                                                                                                          --~"-"'"'""""'"·"''·'·~'"·'·"''''''"'" """"'""
                                                                             ---------·-··--·-··----·-,--------------
                                                           TABLE B
                                  MONTHLY INSTALLMENTS FOR EACH $1000 PAYABLE UNDER OPTION B
                                                                              """"""""'''"""".w.,,.,_,                                                                     ""'""'""""""''""'MM,.,•........,,.,,.,..,.w,,o,,.,.,.,..,...,_,,,_,m,,_,_,,,,,,,,,,,,_,,,_,
                                   Malo Pay..,                                                 F~maf~ P,i!,yeo                                                                                           Male P~yee                                                                 Femal~ Payee
                               G,1,.1arJ;1:nl•e Period                                        Guar,l:lr''ltH Period                                                                         Gmmmtee Period                                                                  1
                                                                                                                                                                                                                                                                             Guarant-,~ Period
    Ago                      10 Years           20VHr&                                   1() '1'!t.tU8     20 Years                                   'Ago                                10 Years  20 Yearl.ll                                                            10 Yuarn     20 Years
---'"""""'"""''"'"""'"'m,,,.,,,.,.,,                                         '"""""""'"""'""'"'"'--                                                                                "'~""""'"'"'""'"""""'~""'"""'"'"''"'""""'"'                                                                  '"""'"""""~'"""''"""''''''''"'"
                                  $2,!l0                $2,89                               $2.83            $2,83                                       51                                      4.44                                  4.26                                      4. I()                      4.02
      1'1
                                   2.91                  2.0-1                                  2,84            2,84                                     52                                      4.53                                  4.32                                      4,'17                       4.08
      12
                                   2.93                  2.92                                   ~.80            2,85                                      53                                     4.62                                  4.39                                      4.25                         4. 14
      13
                                                           ~.94                                 2.87            2,87                                      54                                     4,71                                  4.46                                      4.'.13                       4.21
      14                           2.94
                                                                                                                2,611                                     55                                     4,$1                                  4.52                                      4.42                         4,28
      15                              2.96                 2.96                                 2.88
      16                              2,98                 2.97                                 2.90            2.90                                      56                                     4,92                                  4.59                                      4.61                         4.35
                                     3.00                  2,90                                 2,9'1           2,Q1                                      57                                     5.03                                  4,66                                      4.61                         4.42
      17
                                                           3,0'1                                2.93            ~.OS                                      58                                     5,1S                                  4.73                                       4.7'1                       4.t.iO
      1B                             3.01
                                     3.03                  3.03                                 2.95            2.94                                      59                                     5.27                                  4.80                                      '1.82                        4.57
      19
                                     3,05                 ,3,-05                                2.96             2,96                                     60                                     5,40                                  4.87                                      4.94                         4.65
      20
      21                              3.08                 ,l.(),                               2.98             2.98                                     61                                     $.$3                                  4.94                                       5.06                        4.72
      22                              3.10                 3.09                                 3.00             2.99                                     62                                     5.68                                  5.00                                       !i.19                       4.80
                                      3.12                 3.11                                 3,02             3.tl1                                    63                                     !;,83                                 5.07                                       5.33                        4.BB
      23
      24                              3_.14                3.14                                 :l.04           3.03                                      64                                     5.98                                   5,13                                      5A7                         4 . 95
                                      3.17                 3.16                                 3.06            :J.05                                     65                                     a.,1 fl                                5.18                                      ti()'.~                     SM
      25
                                                                                                3.08             3.07                                     66                                     6.32                                   5.24                                      $,79                        5,()Q
      26                              3.20                  3.19
       27                             :1.22                 3,2-1                               3.10             :1.10                                    67                                     6.50                                   5.2,8                                     5.96                        5.15
                                          3.25              3 ..24                              3.12             3.12                                      68                                    6.6R                                   l\,33                                     6,14                         ~),;t1
       28                                                                                                                                                                                                                                                                                                      5.21
       29                             3,28                  3.27                                3.15             3.14                                      69                                    6.1)8                                  5.36                                      6.33
       :lO                            3.31                  3.30                                 3,17            3.17                                      70                                    '707                                    5.40                                     6.53                         5.32

       :,1                            3.34                  3.33                                 3.20            319                                       71                                      '7.21                                 5.42                                     6,73                         o.ati
       32                             3.:Ja                 3.36                                 3.23            3.22                                      12                                     7.48                                   5.45                                     6.94                         5.40
       33                                 3.4'1             3.39                                 :J,26           3.25                                      73                                     7.68                                   5.46                                     7.16                         5.4a
       :j4                                3.45              :l.43                                3.29            3.26                                      74                                     7,8$                                   5.48                                     1.,18                        Q.45
       35                                 3,49              3.46                                 3.32            :l,;l 1                                   75                                     8.08                                   5.49                                     7.60                         547

       36
       37
                                          3.$3
                                          3.57
                                                            3.50
                                                            3.54
                                                                                                 3,~~5
                                                                                                 3.39
                                                                                                                 3_34
                                                                                                                 337
                                                                                                                                                            76
                                                                                                                                                            '?'"/
                                                                                                                                                                                                   8.27
                                                                                                                                                                                                   8.46
                                                                                                                                                                                                                                         5.60
                                                                                                                                                                                                                                         5.50
                                                                                                                                                                                                                                                                                   "/.82
                                                                                                                                                                                                                                                                                   7,82            •           S.4d
                                                                                                                                                                                                                                                                                                               b.48
                                                                                                                                                            78                                     8,63                                  Ml                                        (l,25                       61;()
       :ia                                3.62              :l58                                  3.42            3.41
                                                                                                                                                            "19                                    8.79                                   fi. 51                                   8.45                        5.51
       39                                 :),67             3,62                                  3.46            3.44
       4()                                3,72              :l.6'7                                3.50            3.48                                      80                                     !l 94                                 5,51                                      8.M                         5,51

       i1                                 3.77                  3.71                             :l.54            3,52                                      ei                                     9.07                                   5JJ'1                                    8.82                        5,61
                                                            :ut>                                  3.59            ::t.56                                    82                                     ij_ 18                                 5.51                                     BJ)7                        5 51
       42                                 3.82
                                                                                                                                                                                                                                          5.5'1                                    9.11                        5.t'I·\
                                          3,88                  3.81                              :1,63           3.60                                      1:Ki                                   9.28
       43
       44                                 3.94                  3.86                              3.68            :3.65                                     84                                     a,~m                                   5,~)                                     9,2~I                       5.51
                                                                                                  3.73            3.69                                      85                                     9.42                                   5.51                                     9.32                        5.6'1
       45                                 4.00                  3.91
                                                                                                                                                                                                                                         """""''"'·'"'"'··"·
        46                                4.07                  3,97                              3.78            3,74
                                                                4,02                              3.84            3.79                                Ages younger than 11 are the same as for ago 11, and
        41                                4.14
        48                                4.21                  4.08                              3.90            3.85                                ages older than 85 are the same as shown for age 85.
        49                                4.28                  4.14                              3.96            3.90
        50                                4.36                  4.20                              4.03            3.96
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                                                                                                                        ------,.,•,v,v.~•.•,•••v,,.,.,,,~-----

                                                                GENERAL PROVISIONS
                                                               -----,,•,"YY"'M'""""'"'""'"                                               w,.,-,,,,w,"""'""""'""'"'""'"""'"'"'..."''"'""'"'"''''''


            Annual Report -We will send you a report at least once a                       application together are the entire contract All statements'
            year which shows !lie premitJm payments, expense                               made by or for the in,.,ured are considered repre$entationa
            charges, interest medlled, mortality charges, and partial                      and not warranties. No statements other than those
            surrenders since the last report. It will also show any                        contained in the application will be used to void the policy
            outstanding loans, the current account value, and current                      or defend a claim,
            net cash value.
                                                                                           Who Can Make Changes In the Policy - Only our
             Projection of 8,i,nellts - If you send us a written request,                  President or a Vice President together with our Secretary
             we will furnish you a report which shows fut,m, benefits                      hiwe thf! authority to make any changes in this policy. Any
             and values,The report will assume your specified amount,                      change must be In writing.
             type of death benefit option, interest rate and future
                                                                                           Assignment of the Polley - You may assign or transfer all
             premium payments, Wo may spt,cily other assumptions as
                                                                                           or specific rights of your policy, No assignment will be
             necessary, Y(1u may request one report tree each year.
                                                                                           effective until you notify us in writing. We will record your
             Additional rcJports will not cost more than $25 ,,;,ch.
                                                                                           assignment. We will not be responsible for its validity cir
                                                                                           effect.
             lncontestablllty of the Polley - This policy will be !neon, '
             testablE! after it has been In force during the ln&ured's lifetime            Death of the Owner - '11 you die before the Insured, your
             for two yaars fmm the F•olicy Data. 1"his provision does not                  rlgl1ts will pass to the executor of your estate unless
             apply to any Rider providing benefits specifically !or dis,.                  ownership has b,~en otherwise assigned.
             ability or death by accident.                                                 Tormi11at1on ol lnsura11ce - This policy will t<;,nninate at
             Amount We Pay 11:1 Umlted in the Event ol Suicide - We will                   the oarliost of:
             be lla.ble only for the premiums paid, less any partial                         a. tho date of surrtmder;
             surrenders, If the Insured dies by suicide while sane or                        b. the policy anniversary following the lnaure(fS age 9i:i; (Jr
             insane within one year from the Polley Date.                                    r:. the dato of lapse.
             Misstatement of Age or Sex In the Applleallon - If there is                   No Dlvldendil are Payable ..:.: ·Tfils is nonparticipating
             a mi$slate1nent qi tt1e lnsured·s age or sex In the policy, we                insurance. It does not participate in our profits or surplus,
             will ,ldjust the OXGOSS of ll1e Oeath Benefit ()Ver the                    'We do not distribute past surplus "r recovor pnst loss% by
             A<:curnulation Value to tha1' whl1;h the most rec0nt monthly                changing the monthly deduction rates,
             deduction W()Uld purchase at the correct age or sex,
                                                                                           Notice ,_ Any notice given ul'lder the provisions of this
             The Contract Consists of the Polley and the Applh;ation                       policy will be sent to your last known address and to any
             We have issued this policy In O<lri$ideration of tt1e i1pplica-               assignee of record.
             lion and premium payments. A <;opy of tho application is
             attached and is a p,,rt of this policy. The policy and the




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                                                                                        "'   ~   '11'




                   Flexible Premium Adjustable Life Policy
                -------"""""""''"""-'·"'----·~------------------------~-




            •   Death Benefit payable to the Beneficiary upon death of the
                Insured before age 95. Net Cash Value paid to the Owner at the
                lnsured's age 95. Nonparticipating - No annual dividends.

                Signed for the Company at its Home Office on the date of issue.




           J~t. W, @u0,,.._,    Secretary             ·
                                                                     'J>~y~,.
                                                                                             President




                YOUR 20 DAY RIGHT TO EXAMINE YOUR POLICY
                You mr1y return your policy within 20 days after receiving it if dissatisfied for any reason.
                You m>.1y return i1 to the agent of our Home Office. We will void the policy and mall your
                refund within 10 days of receipt

                This is a legal contract between you and the Company,

                                             READ YOUR POLICY CAREFULLY




                         1.



                         LifeUSA@ Insurance (jompany Box 5()()(\0
                                                     Minneapolis, Minnesota 5545\J·00!:iO


                                                     "A Stock Company"


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                                                                ,,   ___                 DEFINITIONS
                                                                                 ,._...,.~...~.,.,.,.,.,_,.,,,,,..._,.,   _________                                     .,,,,,.,,...,,.""'""""''"'""'""'"""""""""'"'""'"''"~'"'"""''''"'"""


           We, our, us, ot The Company means LlleUSA lnsurarwe                                                            cover !ht> monthly deduction,
           Company,
                                                                                                                          A Polley Loan is the indebtedness to us for a loan sec wed                                              •
           You aM your means the owner ot ltlis p<,)licy named In the                                                     by this policy.
           application, unless l11t11r changed. The owner may be other
                                                                                                                          The Mililmum Loan Value Is the largest amount you may
           than the person(s) issured, The owner is solely entitled to
                                                                                                                          borrow under the loan provision.
           exercise i:.:tlh,polioy rights.
                                                                                                                          The Net Cesh Value is the Gash Value less any remaining
           ln~ured rncans the pcm.on or porsons whose life is lnsured
           under this P()licy.                                                                                            loan balance,
                                                                                                                          The Net Premium is 100% ot any premium you pay.
           Accumulation Value is the policy's total value, It is
           described in the Accumulation Values section,                                                                  Reinstate means to restore coverage after the poiicy has
                                                                                                                          lapsed.
           Age means the lnsured's age on the last birthday,
                                                                                                                          A Rider Is an attachment to the policy that provides an
           T1·,e Beneficiary Is the person or ,mtity to whom we will pay
                                                                                                                          additional benefit.
           the Death Benefit it the Insured dies.
                                                                                                                          The Polley Date is shown in tt·,e Polley Schedule and
           Cash Value means the accumulation value less any
                                                                                                                          determines the monthly anniversary day, policy anniver--
           surrender penalty.
                                                                                                                          saries, and policy years, Insurance is effective as shc)wn
           Lapse rneans timnination of the policy due lo either                                                           on th!! Application,
           insutricie,nt Cash Value or insufficient premium payment to




                                             ---•~""'"'""'"""              '•"'·•"-•""'"""'"................ ,,_,,               ,,,,,.,A 'W""M"'""•"•"''""' _ _ _ _         - - - - - -

                                                                     GUIDE TO POLICY PROVISIONS

           Accumulation Values .... , , , ... , , , , .. , , , , , , , , , , , , ,                    6                   Ownership Provision . , , . , . , .. , , . , , .. , , ... , . . . . . . .                                    2
           Applicallon , , , .. , ........ , ..........••.. , ... , .... 10                                               Payment      ()f   Cash Values and Loans , . , , ....... , .•. ,                                             7
           Beneficiary's Rlgl1ts , .... , , , , , . , , , . , .. , . , , , .. , , , , .               4                   Payment of Death Benefit , ... , .. , , •..... , . , , . , , . . .                                           4
           Cash Val uo .. , .. , .......... , , . , .. , , . ; , , , . , .. , , , . ,                 7                   Polley Changes , .. , .... , , .. , .. , , , ...••.... , . , , , . ,                                         6
           Change of Beneficiary ... , , . , ..... , , .. , ... , , , . , , , ,                       4                   Policy Loans, , . , .. , , . , . , , , , , , . , .. , , . , , . , , . , . , .. , ,                           7
           Consistent Premium Payment Provision , , , ..... , , , ,                                   5                   Policy Schedule , . , , . , , . , , . , . , , . , . , ........... , , .                                      3
           Death Elen'illit . . . . . , , ......... , ....•......... , . . .                          4                   Premiums ................. , , . , . , . , , .. , , . , . , . , , . ,                                        5
           Definitions,, , . , , , , ... , , , . . . . . . . . . . . . ..... , .. , , ,               2                   Reinstatement of Lapsed Policy .. , , , . , , , .... , ... , . ,                                              5
                             ,/;''

           Gen,iral Provisions ..................... ,., .. , .... 10                                                     Settlement Provisions ........ , , , , . , , , .... , , .... , .                                             a
           Guaranteed Values,, , ,           .f .. ,, .... ,,,, .. ,, .. ,,.,..                       6                   Surrender Option ..... , ....•.. , , .. , .. , , , , ... , . , . .                                            7
           Grace Period ......,., , . :·: , , , , .. , ... , . , .. , , , , , , . , , .               5                   Table of Guaranteed Mortality Rates ...... , ...... , . , 1 '1
    .. 'Mtsstatemanl Of '~ga"'·... , . , . , , .•. , • , , . , .• , •• , , .. , . • 10                                    Table of Surrender Penalties , . , ... , , , , , .... , . , , , , ,                                           3




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